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                                          UNITED STATES DISTRICT COURT
                                          SOUTHERN DISTRICT OF FLORIDA

IRA KLEIMAN, as the personal representative            CASE NO.: 9:18-cv-80176-BB
of the Estate of David Kleiman, and W&K Info
Defense
Research, LLC

       Plaintiffs,

v.

CRAIG WRIGHT

       Defendant.

                                      PLAINTIFFS’ UPDATED TRIAL EXHIBIT LIST


 Exhibit             Bates/Document                        Title                  Defendant’s   Ruling   Admitted
                                                                                  Objections
1          WITHDRAWN                      WITHDRAWN
2          DEFAUS_00081546-               Email from C. Wright to D. Kleiman re H; A
           DEFAUS_00081552                Defamation and the difficulties of law
                                          on the Internet, dated March 12, 2008
3          WITHDRAWN                      WITHDRAWN

4                     N/A                 Professor Fautstus Twitter post dated   R; A
                                          December 6, 2008
5                     N/A                 M. Relentless Twitter post              H; R; A




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6    DEF_01369334-             Email from D. Kleiman to C. Wright re H; A
     DEF_01369337              21 wipe falacy, dated December 27,
                               2008
7    DEF_00973364-             Craig S. Wright and Dave Kleiman,     H; A
     DEF_00973373              Scope of Work - Spyder extensions,
                               dated January 8, 2009
8    KIMON_00000013-           Email from K. Andreou to I. Kleiman, H; MIL; UP
     KIMON_00000015            dated May 16, 2016
9    GAVIN_00000311-           Email from S. Nakamoto to G.            H; R
     GAVIN_00000311            Andresen re Why From: unknown in
                               the UI?, dated July 2, 2010
10   GAVIN_00001004-           Email from S. Nakamoto to G.            H; R
     GAVIN_00001004            Andresen re Why From: unknown in
                               the UI?, dated July 3, 2010
11   GAVIN_00000265-           Email from G. Andresen to S.            H; R; A
     GAVIN_00000266            Nakamoto re Security hole, running-
                               server and browsing web, dated July
                               18, 2010
12   GAVIN_00000275-           Email from S. Nakamoto to G.            H; R; A
     GAVIN_00000293            Andresen te Patches for: bitcoin.conf
                               file and HTTP Basic authentication,
                               dated July 23, 2010 (See Andresen Tr.
                               202:25, 203:1)
13   GAVIN_00000359-           Email from S. Nakamoto to G.            H; R; A
     GAVIN_00000359            Andresen re Two things: rpcpw, and
                               svn:eol-style, dated August 29, 2010
14   GAVIN_00000251-           Email from S. Nakamoto to G.            H; R; A
     GAVIN_00000252            Andresen re Patches: return correct
                               JSON error/HTTP status codes, and
                               removed batch support, dated
                               September 2, 2010




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15   GAVIN_00000380-           Email from G. Andresen to S.            H; R; A
     GAVIN_00000383            Nakamoto re Shutdown on kill signal?,
                               dated September 7, 2010
16   GAVIN_00000415-           Email from S. Nakamoto to G.            H; R; A
     GAVIN_00000415            Andresen re Updated JSON-HTTPS
                               patch, dated October 8, 2010
17   GAVIN_00000641-           Email from G. Andresen to S.            H; R; A
     GAVIN_00000641            Nakamoto re testnet switch, dated
                               October 18, 2010
18   GAVIN_00000253-           Email from S. Nakamoto to G.            H; R; A
     GAVIN_00000253            Andresen re Accounts, dated
                               November 5, 2010
19   GAVIN_00000645-           Email from S. Nakamoto to G.            H; R; A
     GAVIN_00000646            Andresen re listtransactions, dated
                               November 15, 2010
20   GAVIN_00000370-           Email from S. Nakamoto to G.            H; R; A
     GAVIN_00000370            Andresen re svn rev 181: I fixed the
                               Mac FileVault performance bug, dated
                               November 17, 2010
21   GAVIN_00000297-           Email from S. Nakamoto to G.            H; A; R
     GAVIN_00000299            Andresen re getchange.patch, dated
                               November 26, 2010
22   WITHDRAWN                 WITHDRAWN

23   GAVIN_00000348-           Email from S. Nakamoto to G.           H; R; A
     GAVIN_00000349            Andresen re Project management:
                               Satoshi doesn't scale?, dated December
                               19, 2010
24   GAVIN_00000257-           Email from S. Nakamoto to G.           H; R; A
     GAVIN_00000257            Andresen re Client-only mode, sybil
                               attack, dated December 23, 2010




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25   KLEIMAN_00553177-         Email attaching W&K Info Defense
     KLEIMAN_00553180          Research LLC Florida Articles of
                               Incorporation, dated February 14, 2011
     KLEIMAN_00562348-
     KLEIMAN_00562350
26   DEF_01854320-             Limited Liability Company Agreement H; A; CHAR
     DEF_01854337              of W&K Info Defense Research,
                               February 15, 2011
27   WITHDRAWN                 WITHDRAWN

28   WITHDRAWN                 WITHDRAWN

29   WITHDRAWN                 WITHDRAWN

30   WITHDRAWN                 WITHDRAWN

31   DEFAUS_00093292-          Email from C. Wright to D. Kleiman re A; H
     DEFAUS_00093292           Reference, dated March 6, 2011
32   KLEIMAN_00561675-         Intellectual Property License Funding    H; A
     KLEIMAN_00561688          Agreement between C. Wright and
                               W&K, dated April 22, 2011
33   GAVIN_00001553-           Email from S. Nakamoto to G.             H; R; A
     GAVIN_00001554            Andresen re alert message key, dated
                               April 26, 2011
34   DEFAUS_00521088-          Panopticrypt Pty Ltd Certificate of      H; R; A;
     DEFAUS_00521091           Registration, dated June 20, 2011        CHAR
35   DEFHC_00002413-           Email from D. Kleiman to C. Wright re H; A
     DEFHC_00002416            Requested attached, dated June 24,
                               2011 Tulip Trust




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36   DEF_00050985-             Deed of Trust for Tulip Trust          H; R; A
     DEF_00050989
37   DEF_00056403-             Email from D. Kleiman to C. Wright re H; A; IC
     DEF_00056407              Requested attached, dated June 24,
                               2011. Tulip Trust
38   DEF_00027300-             Email from D. Kleiman to C. Wright re H; R; CHAR;
     DEF_00027300              Dickless, dated June 28, 2011         UP; A
39   DEFAUS_00065530-          Declaration of Trust, dated July 21,   H; R; A,
     DEFAUS_00065567           2011                                   CHAR
                               Abacus (Seychelles) Limited
                               Incorporation Form, dated July 21,
                               2011
40   WITHDRAWN                 WITHDRAWN
41   WITHDRAWN                 WITHDRAWN

42   DEF_00013808-             Email from C. Wright to S. Matthews    H; R; A; UP
     DEF_00013808              and R. Watts re This week, dated
                               October 27, 2015
43   Edman Dep. Ex. 17         Email from R. Watts to C. Wright re    H; A
                               Trusts, dated May 28, 2012
44   DEF_00264618-             Email from C. Wright to R.            H; R
     DEF_00264618              Radvanovksy re [!!] [SCADABOOK]
                               Need your biographies by EOW
                               (Friday, June 15th)…, dated June 13,
                               2012
45   KLEIMAN_00194012-         Email from C. Wright to D. Kleiman re H
     KLEIMAN_00194014          IFIP-WG11.9 CFP, dated October 10,
                               2012
46   DEF_00023349-             Email from D. Kleiman to C. Wright re H; A
     DEF_00023349              Payment terms, dated October 11, 2012




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47   DEF_01369890-             Companies House - D. Kleiman          H; R; A
     DEF_01369890              Appointment of Director, dated
                               October 14, 2012
48   DEF_00051504-             Deed of Loan between Design by        H; A
     DEF_00051512              Human Ltd., C. Wright and Denariuz
                               Seychelles Trust, dated October 23,
                               2012
49   DEF_00022208-             Email from C. Wright to D. Kleiman re H; A
     DEF_00022210              1st CFP - ICT and Informing Science
                               and Engineering, dated October 26,
                               2012
50   WITHDRAWN                 WITHDRAWN

51   Warren Dep. Ex. P11       Warren Dep. Ex. P11                  H; R; COM

52   Warren Dep. Ex. P4        Warren Dep. Ex. P4                   H; R; COM
53   Warren Dep. Ex. P3        Warren Dep. Ex. P3                   H; R; COM

54   Warren Dep. Ex. P2        J. Warren, "Bitmessage: A Peer-to-    R; H
                               Peer Message Authentication and
                               Delivery System," dated November 27,
                               2012
55   DEF_00022263-             Email from D. Kleiman to C. Wright re H; A
     DEF_00022264              Brits, dated December 15, 2012
56   DEFHC_00000041-           Email from D. Kleiman to C. Wright re H; A
     DEFHC_00000044            Divorce, dated January 16, 2013
57   Warren Dep. Ex. P5        Warren Dep. Ex. P5
                                                                    H; R
58   WITHDRAWN                 WITHDRAWN



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59   DEF_00028010-             Email from C. Wright to J. Chesher    H; A
     DEF_00028014              and R. Watts, Fwd of Email with D.
                               Kleiman re "Divorce", Dated January
                               23, 2013
60   WITHDRAWN                 WITHDRAWN

61   DEF_00027325-             Email from D. Kleiman to C. Wright re H; A
     DEF_00027325              Long time, dated February 2, 2013
62   DEF_00013675-             Contract for the Sale of Shares between H; A; CML
     DEF_00013718              D. Kleiman, C. Wright and W&K,
                               dated April 2, 2013
63   DEFAUS_00671341-          Email from C. Wright to S. Matthews, H
     DEFAUS_00671415           R. Watts, and V. Magnusson re coin-
                               ex, dated November 16, 2015
                               Coin-Exch Shareholder Agreement
64   DEFAUS_00662658-          Software Development Agreement          A; H; CML
     DEFAUS_00662726           between C. Wright, D. Kleiman and
                               Strasan Pty Ltd, dated April 4, 2013
65   DEF_00029509-             Email from H. Khuu to C. Wright re      H; R; A;
     DEF_00029540              Cloudcroft Pty Ltd                      CHAR; P
                               [SEC=UNCLASSIFIED], dated April
                               5, 2013
66   DEFAUS_00708268-          Australian Securities & Investments     H; R; P
     DEFAUS_00708273           Commission - Change to Company
                               Details - C01N PTY LTD, dated April
                               22, 2013
67   Boedeker Dep. Ex. 3       Excel Sheet summary that went into      H
                               statistical tests (See Boedeker 15:20-
                               22)
68   Boedeker Dep. Ex. 4       Expert Report of S. Boedeker Ex. B - H
                               List of Materials Reviewed, dated
                               April 10, 2020


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69   Boedeker Dep. Ex. 5       Email from V. Freedman to Z. Kass re H
                               Boedeker, dated April 21, 2020
70   DEF_01369891-             Companies House - D. Kleiman         H; R
     DEF_01369891              Termination of Appointment of
                               Director, dated April 26, 2013
71   Boedeker Dep. Ex. 6       Email from V. Freedman to Z. Kass re H
                               Boedeker, dated April 22, 2020
72   WITHDRAWN                 WITHDRAWN
73   WITHDRAWN                 WITHDRAWN

74   DEF_00023252-             Deed of Asssignment between Craig H; A; R
     DEF_00023262              Wright R&D and Strasan Pty Ltd,
                               dated June 30, 2013
75   DEF_00031588-             Email from C. Wright to J. Wilson and H
     DEF_00031606              R. Watts re Initial Accounts, dated July
                               2, 2013
76   DEF_00266797-             Email from C. Wright to R. Watts re R; UP
     DEF_00266797              Next, dated July 2, 2013
77   WITHDRAWN                 WITHDRAWN

78   DEF_00030127-             Email from C. Wright to Fhalyce        H; R; UP
     DEF_00030127              Dempster re Evidence, dated July 18,
                               2013
79   WITHDRAWN                 WITHDRAWN



80   DEF_00267325-             Email from C. Wright to J. Alastair and H; R
     DEF_00267326              I. Brightwell re iVote Strategy for the
                               NSW State General Election 2015,
                               dated August 8, 2013


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81   DEF_00043726-             Email from J. Wilson to J. Wilson, R.   H; R
     DEF_00043727              Watts and C. Wright re Pojects - To
                               plan, dated August 11, 2013
82   WITHDRAWN                 WITHDRAWN

83   Warren Dep. Ex. P6        Warren Dep. Ex. P6                      H; R; A

84   WITHDRAWN                 WITHDRAWN

85   WITHDRAWN                 WITHDRAWN

86   DEF_00029293-             Deed of Assignment between The          H; A; R
     DEF_00029300              Wright Family Trust and Hotwire
                               Preemptive Intelligence Pty. Ltd.,
                               dated September 15, 2013
87   WITHDRAWN                 WITHDRAWN

88   DEFAUS_01582270-          Coin-Exch/Demorgan Assignment           H; A; R;
     DEFAUS_01582287                                                   CML
89   KLEIMAN_00559215-         Deed of Assignment between The          H; A; R
     KLEIMAN_00559222          Wright Family Trust and Cloudcroft
                               Pty. Ltd., dated September 15, 2013
90   DEF_00045496-             Email from C. Wright to J. Wilson re H; R
     DEF_00045496              Urgent ASIC, dated September 20,
                               2013
91   DEFAUS_00113043-          Email from C. Wright to R. Manu and H; R
     DEFAUS_00113045           J. Wilson re Advice, dated September
                               23, 2013
92   DEF_00467687-             Email from S. Lipke to C. Wright, R. H; R
     DEF_00467687              Urquhart, J. Wilaon, R. Watts and A.



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                                Pedersen re ATO Ruling, dated
                                September 27, 2013
93    DEFAUS_00604334-          GST Calculation Worksheet                 H; R
      DEFAUS_00604343
94    DEFAUS_00553926-          Email from C. Wright to J. Spears re      H; R
      DEFAUS_00553926           Discussion, dated October 2, 2013
95    DEFAUS_00702842-          Email from C. Wright to M. Italia, R. H; R
      DEFAUS_00702847           Watts, J. Wilson and M. Hardy re re
                                Email 6 re Notification of Audit ABN
                                48 164 068 348 w/ Attachments
96    DEF_00046098-             Email from C. Wright to M. Italia re  H; R
      DEF_00046149              Email 7 re Notification of audit ABN
                                48 164 068 348, dated October 6, 2013
97    DEF_00025094-             Email from C. Wright to M. Hardy re H; R
      DEF_00025095              Discussion, dated October 9, 2013
98    DEF_01675338-             Email from C. Adams to R. Watts re    H; R
      DEF_01675390              55 Hastings Rd.
99    Choi Dep. Ex. 4           Litigation Services Handbook: The     H
                                Role of the Financial Expert, Chapter
                                5, "Ex Ante Versus Ex Post Damages
                                Calculations, by E. Evans and R. Weil
100   WITHDRAWN                 WITHDRAWN

101   DEF_00045457-             Email from C. Wright to M. Italia re      H; R; CHAR;
      DEF_00045495              Notification of audit ABN 48 164 068      UP
                                348, dated October 12, 2013
102   DEFAUS_00108904-          Resignation Letter from J. Wilson to C.   H; R
      DEFAUS_00108908           Wright, dated October 23, 2013
103   Choi Dep. Ex. 5           The Daily Hodl, "Massive Bitcoin          H; R; ILO;
                                Whale Triggered BTC Surge With            SPEC
                                $100 Million Order, Says Crypto


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                                 Investment Firm CEO," dated April 2,
                                 2019
104   Wilson Dep. Ex. 20         Hotwire Preemptive Intelligence Pty   H; R; A
                                 Ltd - Employee Remuneration
                                 Schedule, dated October 29, 2013
105   Pl. MSJ Ex. 5              Transcript of Craig Wright before     H; A
      [DE 511-10]                Registrar Bradford, dated October 30,
                                 2013 (Craig Dep. IV Ex. Z16)
106   WITHDRAWN                  WITHDRAWN

107   WITHDRAWN                  WITHDRAWN

108   WITHDRAWN                  WITHDRAWN

109   DEFAUS_01746855-           Email from S. Nakamoto to A.             H; A; R; P
      DEFAUS_01746877            Sommer re Fear of the future, dated
                                 January 9, 2014

110   DEF_01913478-              Email from C. Wright to J. Chesher, A.   H; R; P
      DEF_01913480               Sommer, and R. Watts re ATO notices
                                 received 21 January 2014
111   DEF_01913521-              Emai from C. Wright to J. Chesher, A.    H; R; P
      DEF_01913522               Sommer and R. Watts re review of
                                 position.
112   DEFAUS_00516701-           Email from C. Wright to B. Wright re     H
      DEFAUS_00516702            Intro, dated January 29, 2014
113   DEFAUS_00517436-           Email from C. Wright to S. Matthew re    H; R
      DEFAUS_00517476            what we are doing.
114   DEF_00723975-              Email from C. Wright to R. Watts, A.     H; R
      DEF_00723976               Pedersen, R. MacGregor re Bodog



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115   DEFAUS_01747134-          Email from C. Wright to J. Chesher, A.    H; R; UP; P;
      DEFAUS_01747136           McCaughan, J. Slater and N. Mavrakis      A
                                re Beer and congrats, dated February 3,
                                2014
116   DEFAUS_01570588-          Email from C. Wright to J. Chesher, A.    H; R; A;
      DEFAUS_01570591           McCaughan, J. Slater ad N. Mavrakis       CHAR
                                re reciept, dated February 3, 2014
117   KLEIMAN_00008178-         Email from L. Kleiman to C. Wright re     H; A
      KLEIMAN_00008179          Dave, dated February 12, 2014
118   DEFHC_01519029-           Powerpoint Presentation prepared for H; R
      DEFHC_01519077            ATO
119   DEFAUS_00112712-          Email from C. Wright to I. Kleiman re H
      DEFAUS_00112713           Dave, dated February 15, 2014
120   DEFAUS_00112899-          Email from C. Wright to I. Kleiman re A; H; CML
      DEFAUS_00112941           Dave, dated February 15, 2014
121   KLEIMAN_00035329-         Email from P. Paige to C. Conrad re       H
      KLEIMAN_00035335          Difficult, dated February 16, 2014
122   DEFAUS_00112977-          Email from C. Wright to P. Paige re       H
      DEFAUS_00112980           Difficult, dated February 17, 2017
123   WITHDRAWN                 WITHDRAWN

124   DEFHC_00001030-           Email from I. Kleiman to C. Wright re H; R
      DEFHC_00001031            AGMO COE in IPv6.pptx, dated
                                February 18, 2014
125   PAIGE_00002988-           Email from P. Paige to I. Kleiman re H; R
      PAIGE_00002991            what's up, dated February 18, 2014
126   PAIGE_00002979-           Email from I. Kleiman to P. Paige re      H; R
      PAIGE_00002983            what's up, dated February 20, 2014




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127   DEF_00051768-             Record of Interview of J. Chesher by H; R; UP; A;
      DEF_00051820              ATO Auditor A. Miller, dated
                                February 26, 2014
128   DEFAUS_00068503-          Email from D. Kleiman to C. Wright re H; A
      DEFAUS_00068504           We have now a company in the UK,
                                dated February 28, 2014
129   KLEIMAN_00561744-         Email from C. Wright to I. Kleiman re H; A
      KLEIMAN_00561747          Bond villains, dated March 2, 2014
130   WITHDRAWN                 WITHDRAWN

131   DEFAUS_00115729-          Email from C. Wright to I. Kleiman re H; A
      DEFAUS_00115731           FW: New year and all, dated March 7,
                                2014
132   Andresen Dep. Ex. 59      WSJ Moneybeat Blog by M. Casey,       H; R; SPEC
                                "Bitcoin Foundation's Andresen on
                                Working With Satoshi Nakamoto,"
                                dated March 6, 2014
133   DEFAUS_00068579-          Email from C. Wright to I. Kleiman re H; R; A
      DEFAUS_00068580           This week, dated March 7, 2014
134   DEFAUS_00115700-          Email from C. Wright to I. Kleiman re H; SPEC; A;
      DEFAUS_00115714           RDPlan - Integyrs.doc, dated March 7, CHAR
                                2014
135   DEF_00028008-             Email from C. Wright to J. Chesher re H; A
      DEF_00028009              Bond villians, dated March 10, 2014
136   DEF_00051010-             Ciudad del Saber Invoice sent to C.   H; R; A;
      DEF_00051011              Wright, dated March 10, 2014          CHAR
137   DEF_00068419-             Questions from the ATO about W&K H; R; A
      DEF_00068425              Letter from J. O 'Halloran to C. Wright
                                and J. Chesher re Questions relating to
                                our audit, dated March 11, 2014



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138   DEFAUS_00115888-          Email from C. Wright to I. Kleiman re H; A
      DEFAUS_00115896           Coin-Exch Balance Sheet, dated March
                                11, 2014
139   DEFAUS_00115950-          Email from I. Kleiman to C. Wright re H; A
      DEFAUS_00115956           Another, dated March 11, 2014
140   DEF_01915128-             Email from C. Wright to A. Sommer        H; R; A; P
      DEF_01915143              and R. Watts re Draft Answer -
                                Demorgan and CSW, dated March 16,
                                2014 with attachment
141   DEF_01913824-             Email from C. Wright to A. Sommer        H; R; A; P
      DEF_01913840              and R. Watts re Draft Answer -
                                Demorgan and CSW, dated March 16,
                                2014 with attachment
142   DEF_01700403-             Email from C. Wright to J. Chesher, R.   P; H
      DEF_01700403              Watts, and A. Sommer re
                                L11000019904, dated March 24, 2014
143   DEF_00053141-             Email from C. Wright to R. Watts re      H; R; UP; A
      DEF_00053238              Transcript of Interview - 28 March
                                2014 [DLM=Sensitive], dated April
                                23, 2014; Transcript of Craig Wright
                                ATO Interview, dated March 28, 2014
144   WITHDRAWN                 WITHDRAWN

145   DEF_01914160-             Email from C. Wright to J. Chesher, R. H; P; A;
      DEF_01914161              Watts, and A. Sommer re UK - Design COM
                                by Human, dated April 1, 2014
146   DEF_01914162-             Email from C. Wright to J. Chesher, R. H; P
      DEF_01914165              Watts, and A. Sommer re CFS
                                International Formations, dated April
                                1, 2014




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147   DEFAUS_01859467-          Email from C. Wright to J. Chesher, R. P; H
      DEFAUS_01859468           Watts, A. Pedersen and A. Sommer re
                                code, dated April 1, 2014
148   DEFAUS_00559278-          Hotwire PE - WKID Cost Estimation H; R; SPEC;
      DEFAUS_00559291                                                  ILO; A
149   DEFAUS_01859475-          Email from C. Wright to J. Chesher     H; P
      DEFAUS_01859476           and A. Sommer re UK - design by
                                human, dated April 2, 2014
150   DEFAUS_01859492-          Email from C. Wright to A. Sommer, J. P; H
      DEFAUS_01859492           Chesher, and R. Watts re Points re
                                Coin Exch, dated April 9, 2014
151   DEF_00013767-             Email from C. Wright to I. Kleiman re H; ILO;
      DEF_00013807              WKID Software Evaluation, dated        SPEC; CML
                                April 15, 2014
152   DEFAUS_01565207-          Email from Ut Ng to Andrew Sommer H; R; A
      DEFAUS_01565210           re "nomination letter by dave"
153   DEFAUS_01859521-          Email from C. Wright to A. Sommer, H; P
      DEFAUS_01859523           R. Watts, and A. Pedersen re Hotwire
                                Core Technology, dated April 16, 2014
154   WITHDRAWN                 WITHDRAWN

155   DEF_01914239-             Email from J. Chesher to C. Wright, R. H; R; P
      DEF_01914239              Watts and A. Sommer re NSWSC
                                transactions, dated April 23, 2014
156   DEFAUS_00118869-          Email from C. Wright to I. Kleiman re H; A; R408
      DEFAUS_00118883           Questions, dated April 23, 2014
157   DEFAUS_00119167-          Email from C. Wright to I. Kleiman re H; A; CML;
      DEFAUS_00119185           Questions, dated April 23, 2014       SPEC; R408
158   DEFAUS_00119230-          Email from C. Wright to I. Kleiman re H; A; SPEC;
      DEFAUS_00119251           Questions, dated April 23, 2014       R408; BER



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159   DEFAUS_00119296-          Email from C. Wright to I. Kleiman re H; A; SPEC;
      DEFAUS_00119318           Questions, dated April 23, 2014       R408
160   DEFAUS_00627954-          Email from C. Wright to I. Kleiman re H; A; R408
      DEFAUS_00627977           Questions, dated April 23, 2014
161   DEFAUS_00628077-          Email from C. Wright to I. Kleiman re H; A; SPEC;
      DEFAUS_00628102           Questions, dated April 23, 2014       R408
162   KLEIMAN_00000136-         Email from C. Wright to I. Kleiman re   H; A; CML
      KLEIMAN_00000157          Questions, dated April 23, 2014         R408; UP
163   KLEIMAN_00000270-         Email from C. Wright to I. Kleiman re   H; A; CML;
      KLEIMAN_00000294          Questions, dated April 23, 2014         R408
164   KLEIMAN_00004809-         Email from C. Wright to I. Kleiman re H; R; A
      KLEIMAN_00004812          Chronology of Craig Wright, dated
                                April 25, 2014
165   WITHDRAWN                 WITHDRAWN

166   DEF_01605214-             Email from C. Wright to A. McCabe,      H; SPEC;
      DEF_01605269              A. McEvoy and R. Watts re WKID          ILO; CML;
                                Software valuation, dated May 16,       A: UP
                                2014
167   KLEIMAN_00278108-         Email from I. Kleiman to C. Wright re   H
      KLEIMAN_00278110          memory recall, dated May 20, 2014
168   WITHDRAWN                 WITHDRAWN
169   DEFAUS_00713213-          Letter from C. Wright to U. Nguyen re H; R; A;
      DEFAUS_00713266           C01N Deed of Loan, dated June 27,     CHAR
                                2014
170   DEF_01596539-             W&K Account Overview on High          H; CHAR
      DEF_01596540              Secured, dated June 30, 2014
171   DEFAUS_01860640-          Email with attached Draft Witness       H; R; P; UP;
      DEFAUS_01860663           Statement of Dr. Craig Wright           CHAR



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172   DEFAUS_00068665-          Transcript of ATO Interview of C.      H; R; A;
      DEFAUS_00068710           Wright, dated August 11, 2014          BER; UP;
                                                                       SPEC
173   DEFAUS_00560317-          Transcript of ATO Interview of C.      H; R; A;
      DEFAUS_00560362           Wright, dated August 18, 2014          BER; UP;
                                                                       SPEC
174   WITHDRAWN                 WITHDRAWN



175   DEFAUS_01861428-          Email from C. Wright to R. Watts and   H; R; P;
      DEFAUS_01861429           A. Sommer re Our meeting Monday,       CHAR
                                dated September 17, 2014
176   DEF_01597497-             Email from C. Wright to K. Unger re    H; R; UP;
      DEF_01597537              Statement, dated September 22, 2014    CHAR
177   DEF_00022355-             Associations between Craig Wright,   H
      DEF_00022356              related entities W&K
178   DEF_01597059-             Email from C. Wright to KPMG re      H; UP; P
      DEF_01597060              CO1N ATO Review, dated October 11,
                                2014
179   DEFAUS_00519694-          Abacus (Seychelles) Limited Invoice H; R; CHAR
      DEFAUS_00519698           sent to C. Wright, dated October 17,
                                2014
180   WITHDRAWN                 WITHDRAWN

181   DEFAUS_00519816-          Email from Lee to C. Wright re         H
      DEFAUS_00519817           valuation, dated October 28, 2014
182   DEF_00041965-             Certificate for Advance Finding…re     H; A
      DEF_00041972              Coin-Exch, dated November 6, 2014
183   DEFAUS_00714072-          Email from R. Watts to C. Wright and   H; A; ILO;
      DEFAUS_00714111           S. Matthews re Valuation, with         SPEC




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                                attachment Software Engineering
                                Valuation, dated November 13, 2014


184   GAVIN_00001296-           Email from J. Brady to G. Andresen re H; R; A
      GAVIN_00001297            Core Code, dated November 25, 2014
185   WITHDRAWN                 WITHDRAWN

186   DEF_00239622-             Email from C. Wright to Grays Invoice     H; R; CHAR
      DEF_00239623              re Grays - Your Paid Invoice 2091381-
                                26, dated December 5, 2014
187   DEF_01896241-             Email from C. Wright to A. Sommer         P; R; H
      DEF_01896242              and R. Watts re bitmessage , dated
                                December 31, 2014
188   DEFAUS_01864463-          Email from C. Wright to A. Sommer         P; H; A
      DEFAUS_01864464           and R. Watts re C01N supporting,
                                dated February 1, 2015
189   DEF_01097415-             Email from C. Wright to R. Watts re       H; UP
      DEF_01097415              ATO Game, dated February 4, 2015
190   DEF_00056567-             Email from A. Pedersen to C. Wright       H; R; UP
      DEF_00056574              and Ramona Watts re preparation for
                                ATO meetings, dated March 26, 2015
191   DEFAUS_01867166-          Emaiil from H. Miller to C. Wright, R.    H; R; P
      DEFAUS_01867167           Watts, and A. Sommer re meeting -
                                possible investor, dated April 17, 2015
192   DEF_01591420-             Email from R. De Gracia to C. Wright,     H; R; UP; P;
      DEF_01591420              R. Watts, H. Miller and A. Sommer re      CHAR
                                Bitmessage, dated Apirl 28, 2015
193   DEF_01616105-             Email from R. De Gracia to A.             H; R; UP; P;
      DEF_01616106              Sommer, H. Miller and R. Watts re         CHAR
                                Email contact, dated April 28, 2015



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194   DEF_01587950-             Email from HighSecured to A.             H; R; UP;
      DEF_01587950              Sommer re Privilege Asserted, dated      CHAR
                                May 3, 2015
195   DEF_01588028-             Email from HighSecured to A.             H; R; UP;
      DEF_01588028              Sommer re Privilege Asserted, dated      CHAR
                                May 3, 2015
196   WITHDRAWN                 WITHDRAWN

197   WITHDRAWN                 WITHDRAWN

198   DEF_01675811-             Email from A. Pedersen to C. Wright H; R; A
      DEF_01675902              and Ramona Watts re MacQuarie
                                Bank, dated May 4, 2015, with
                                attachments.
199   DEF_01587951-             Email from R. De Gracia to C. Wright H; R; CHAR
      DEF_01587952              re HighSecured.com, dated May 6,
                                2015
200   DEFAUS_00550141-          Email from M. Seven to C. Wright re H; R; UP
      DEFAUS_00550142           Email, dated May 21, 2015
201   DEF_01899887-             Email from R. Watts to C. Wright re      H; R
      DEF_01899887              coin response, dated May 22, 2015
202   DEF_00051013-             Invoice from Clayton Utz for Amended     H; R; CHAR
      DEF_00051013              Contract to R. Watts, dated May 25,
                                2015
203   DEF_01899834-             Email from C. Wright to A. Sommer,       P; H; UP
      DEF_01899834              H. Miller, and R. Watts re Agreement -
                                para 19
204   DEF_01222659-             Email from R. De Gracia to A.            H; R; P; A;
      DEF_01222661              Sommer re Invoice, dated May 27,         CHAR
                                2015




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205   DEF_01588060-             Email from HighSecured to A.            H; R; UP; P;
      DEF_01588061              Sommer re Digital Evidence (Final),     A; CHAR
                                dated May 30, 2015
206   DEF_01588062-             Email from R. De Garcia to A.           H; R; UP; P;
      DEF_01588064              Sommer re Letter, dated May 30, 2015    COM; CHAR


207   DEF_01608290-             Email from T. Murray to C. Wright       H; R; UP; P
      DEF_01608294              and Ramona Watts re prepayment,
                                dated June 3, 2015
208   WITHDRAWN                 WITHDRAWN



209   DEFAUS_01868452-          Email from C. Ayre to C. Wright, S.     H; R; P
      DEFAUS_01868453           Matthews, JLP, M. Bianchi, Dr. Errol
                                Cort re thinking from last night, dated
                                June 10, 2015
210   DEFAUS_00651315-          Skype between C. Wright and S.          H; R
      DEFAUS_00651315           Matthews, June 14, 2015


211   DEFAUS_01062646-          Email from C. Ayre to C. Wright re      H; R
      DEFAUS_01062647           Letter of Intent, dated June 14, 2015
212   DEF_00023318-             Email from C. Wright to U Ng, R.        R; H
      DEF_00023319              Watts re ATO request, dated June 18,
                                2015
213   DEF_00175405-             Email from C. Wright to C. Ayre, S.     H; R
      DEF_00175406              Matthews, and JLP re for 1:30
                                meeting, dated June 18, 2015
214   DEF_00722915-             Email from C. Wright to C. Ayre, S.     H; R
      DEF_00722917              Matthews, and C. Hoffman re Letter of
                                Intent, dated June 18, 2015



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215   DEF_01674223-             Email from C. Wright to C. Ayre re      H; R
      DEF_01674225              OK…finished first cut of thr LOI just
                                now, dated June 20, 2015
216   DEFAUS_00651738-          Email from C. Ayre to C. Wright and     H; R; P
      DEFAUS_00651738           C. Hoffman re can one of you guys…,
                                dated June 20, 2015
217   DEFAUS_01585291-          Email from C. Ayre to C. Wright re      H; A; R
      DEFAUS_01585293           OK…finished first cut of the LoI just
                                now, dated June 20, 2015
218   DEF_01103312-             Email from R. Watts to I. Kleiman re    H; R; UP
      DEF_01103315              questions, dated June 22, 2015
219   DEFAUS_01581818-          Email from C. Ayre to C. Wright re      H; R
      DEFAUS_01581831           OK…finished first cut of the LoI just
                                now, dated June 22, 2015
                                ATTACHMENTS:
                                DEFAUS_01581821- Budget.xlsx,
                                DEFAUS_01581822- Summary of
                                Issues and Position
220   WITHDRAWN                 WITHDRAWN

221   DEF_01103285-             Email from R. Watts to I. Kleiman re    H; R; UP
      DEF_01103291              questions, dated June 23, 2015
222   DEF_01103305-             Email from R. Watts to C. Wright re     H
      DEF_01103309              Questions, dated June 23, 2015
223   DEF_00052514-             Email from C. Wright to R. Watts re     H; R
      DEF_00052525              Transcript and Meeting Minutes, dated
                                June 24, 2015
224   DEF_00175399-             Email from C. Wright to S. Matthews     H
      DEF_00175399              and R. Watts re things to send to
                                Stefan, dated June 24, 2015




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225   DEF_00022384-             Email from R. Watts to S. Matthews re     H; A
      DEF_00022384              Minority shareholder - Ira Kleiman,
                                dated June 27, 2015
226   DEF_00022534-             Email from S. Matthews to R. Watts re     H; A
      DEF_00022534              Minority Shareholder - Ira Kleiman,
                                dated June 27, 2015
227   DEF_00004842-             Email from S. Matthews to C. Wright       H; R
      DEF_00004843              and R. Watts re coin-ex, dated June 28,
                                2015 with attachments
228   DEF_01103056-             Email from R. Watts to C. Wright re       H; R
      DEF_01103056              coin-ex, dated June 28, 2015
229   DEF_00074670-             Email from R. Macgregor to C. Ayre,       H; R
      DEF_00074676              S. Matthews, C. Wright & R. Watts re
                                Congratulation, dated June 29, 2015
230   DEF_01108619-             Technical services agreement between      R; H
      DEF_01108638              DeMorgan and DR Technologies
231   DEF_00022372-             Email from R. Watts to S. Matthews re H; R; A
      DEF_00022372              Conciliatory words, dated June 30,
                                2015
232   DEF_01103043-             Email from R. Watts to S. Matthews re H; R
      DEF_01103049              Ira, dated June 30, 2015
233   DEFAUS_00714412-          Email from R. Watts to I. Kleiman re H; A
      DEFAUS_00714418           more questions, dated June 30, 2015
234   DEF_01103005-             Email from R. Watts to C. Wright re    H; UP; SPEC;
      DEF_01103024              report for Ira, dated July 1, 2015     CHAR; MIL
235   DEF_00002142-             Coin-Exch Balance sheet as of June 30, R
      DEF_00002143              2014
236   WITHDRAWN                 WITHDRAWN

237   WITHDRAWN




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238   DEF_01894962-             Email from R. Watts to C. Wright re     H; UP; R; P;
      DEF_01894971              without prejudice, dated July 4, 2015   CHAR; ILO
239   DEF_01896866-             Email from S. Matthews to C. Wright     H; UP; R; P;
      DEF_01896867              and R. Watts re Latest development,     CHAR; ILO
                                dated July 5, 2015
240   DEFAUS_01868822-          Email from R. Watts to C. Wright re     H; R; UP;
      DEFAUS_01868824           Termination of Engagement, dated July   CHAR, ILO;
                                6, 2015                                 P
                                attachment: Letter from A. Sommer to
                                R. Watts re DeMorgan Limited -
                                Termination of engagement
241   DEF_00022360-             Email from R. Watts to S. Matthews re   H; A
      DEF_00022361              Proposal, dated July 8, 2015
242   DEF_01602580-             Email from R. Watts attaching Meeting H; A; R; UP;
      DEF_01602580              Minutes of Hotwire                    CHAR; MIL

      [Attachment]
      DEF_01890842-
      DEF_01890844
243   DEF_01896837-             Email from S. Matthews to R. Watts re H; R; A; P
      DEF_01896838              W&K questions, dated July 9, 2015
244   DEFAUS_00654061-          Email from C. Wright to S. Matthews H; SPEC; R
      DEFAUS_00654079           re Questions, dated July 14, 2015
245   DEFAUS_00654224-          Email between C. Ayre to R.          H; R
      DEFAUS_00654225           Macgregor, S. Matthews, C. Wright re
                                Project Wintermute, dated July 14,
                                2015
246   DEF_00022426-             Email from S. Savanah to C. Wright, H; R; A
      DEF_00022432              A. Pedersen, R. Watts, and S.
                                Matthews re Demorgan patent-
                                research, dated July 20, 2015
                                ATTACHMENT: DEF_00022428-


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                                DeMorgan Patent Schedule,
                                DEF_00022432-Patent Roadmap



247   DEFAUS_00654407-          Email from C. Ayre to C. Wright et al. H; R
      DEFAUS_00654407           re interesting times, dated July 23,
                                2015
248   DEF_01607617-             Email from S. Matthews to C. Wright H; R; P;
      DEF_01607617              and Ramona Watts re Hotwire, dated SPEC; ILO
                                July 24, 2015, with attachments
      [Unredacted
      Attachment]
      DEF_01896721-
      DEF_01896725
249   DEF_01108594-             Email from S. Matthews to R. Watts re    H; R; A
      DEF_01108598              relocation, dated August 4, 2015
250   DEF_01108545-             Email from S. Matthews to R. Watts re    H; A
      DEF_01108577              Hotwire IP Deed of Assignment, dated
                                August 10, 2015
251   DEFAUS_00658446-          Email from C. Ayre to C. Wright et al.   H; R
      DEFAUS_00658446           re Dr Craig, has McAffee been reading
                                your mind?, dated August 21, 2015
252   DEFAUS_01073764-          Email from C. Ayre to C. Wright et al.   H; R
      DEFAUS_01073764           re I want to open up…, dated August
                                21, 2015
253   WITHDRAWN                 WITHDRAWN

254   DEF_01896453-             Email from S. Matthews to V.             H; A; P;
      DEF_01896475              Magnusson re Response to requested       SPEC; ILO;
                                details, dated August 26, 2015 with      R; CHAR;
                                attachment. Baker & McKenzie - RFI
                                List


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255   DEFAUS_00553689-          Email from S. Matthews to C. Wright H
      DEFAUS_00553690           re Communication, dated August 26,
                                2015
256   DEF_01613729-             Email from S. Matthews to C. Wright H
      DEF_01613730              and Ramona Watts re communication,
                                dated August 28, 2015
257   DEFAUS_00716022-          Email email from C. Wright to S.    H
      DEFAUS_00716023           Matthews and R. Watts re coin-ex,
                                dated August 28, 2015
258   KLEIMAN_00004269-         Email from C. Wright to I Kleiman re     H
      KLEIMAN_00004271          Communicaiton, dated August 28,
                                2015
259   DEFAUS_00660269-          Email from S. Matthews to Baker          A; R
      DEFAUS_00660395           McKenzie re DeMorgan Business
                                Service and Management Agreements
                                for DeMorgan Holdings, C01N,
                                CHAOS, Cloudcroft, Coin-Exch, and
                                DASO, dated September 9, 2015
260   DEFAUS_00660397-          Email from C. Wright to R. Watts and     H; R
      DEFAUS_00660401           S. Matthews re Demorgan patent
                                schedule, dated September 10, 2015
261   DEFAUS_00063233-          Email from R. Watts to S. Matthews re    H; R; A
      DEFAUS_00063233           Can further details be provided, dated
                                September 10, 2015

262   DEF_00723790-             Email from C. Wright to A. Pedersen, R
      DEF_00723791              S. Matthews, R. Watts re Last for
                                Today…, dated September 24, 2015
263   DEFAUS_00556489-          Patents Roadmap spreadsheet          H; R
      DEFAUS_00556490
264   DEFAUS_00662545-          Email from S. Matthews to C. Ayre        H; R; A
      DEFAUS_00662555           and R. Macgregor re Proposal for



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                                Creditors of Hotwire, dated September
                                29, 2015
265   DEFAUS_00662639-          Email from S. Matthews to R. Watts re H; A; P
      DEFAUS_00662639           RFI #5, dated September 29, 2015
266   DEF_00177798-             Email from R. Watts re To Do Craig,     H; A
      DEF_00177798              dated October 7, 2015
267   WITHDRAWN                 WITHDRAWN

268   DEF_00022680-             Email from R. Watts to S. Matthews re H; A
      DEF_00022680              Dave's Trust, dated October 8, 2015
269   DEF_01107190-             Email from C. Wright to R. Watts re   H; R; UP
      DEF_01107202              Research and Development Claim,
                                dated October 9, 2015
270   KLEIMAN_00398939-         Email from I. Kleiman to C. Wright re H; UP
      KLEIMAN_00398941          Dave's Trust, dated October 9, 2015
271   DEFAUS_00667386-          Email from S. Matthews to R. Watts     H
      DEFAUS_00667388           and C. Wright re Dave's Trust, dated
                                October 16, 2015
272   DEFAUS_00667408-          Email from S. Matthews to R. Watts     H
      DEFAUS_00667410           and C. Wright re Dave's Trust, dated
                                October 16, 2015
273   DEFAUS_01799244-          Email from C. Wright to S. Matthews H; R; CHAR
      DEFAUS_01799248           re Lynn, dated October 19, 2015
                                Attachments: DEFAUS_01799245,
                                DEFAUS_01799246,
                                DEFAUS_01799247
274   DEFAUS_00125708-          Email from C. Wright to A. Pedersen R; H
      DEFAUS_00125715           re Proposal White Paper, dated October
                                20, 2015




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275   DEFAUS_01876190-          Email from R. Watts to S. Matthews re H; A; P; UP
      DEFAUS_01876205           Baker and Mackenzie IP Questionsn,
                                dated October 20, 2015
276   DEFAUS_00125725-          Email re Cloudcroft Ausindustry       H; A; R
      DEFAUS_00125819           response dated October 21, 2015

277   DEFAUS_01876379-          Email between S. Matthews and Baker H; R; P; A
      DEFAUS_01876379           & McKenzie re Cloudcroft Matter
                                (Lynn Wright), dated October 21, 2015
      [Attachment]
      DEFAUS_01800121-
      DEFAUS_01800124
278   DEFAUS_00557934-          Email from R. Watts to C. Ayre et al. H; R
      DEFAUS_00557939           re Publication, dated October 27, 2015
279   DEFAUS_00668806-          Email from R. Thomas to A. Pedersen     H
      DEFAUS_00668872           et al., re Ausindustry Response
                                Submission: Coin-Exch, dated October
                                29, 2015
280   DEFAUS_00668949-          Email from Ut Ng to C. Wright, C.       H; R; UP;
      DEFAUS_00668950           Ayre and S. Matthews re Bitcoin         CHAR
                                CEO…, dated October 30, 2015
281   DEFAUS_01878058-          Email from R. Watts to R. Thomas et     H; R; P; CML
      DEFAUS_01878059           al, re Demorgan - Tulip Trust Deed,
                                dated November 4, 2015
282   DEFAUS_01878155-          Email from C. Wright to BLW et al, re   H; P
      DEFAUS_01878157           Demorgan - Tulip Trust Deed, dated
                                November 5, 2015
283   DEFAUS_01878644-          Email from R. Watts to R. Thomas, J.    H; P; A; ILO
      DEFAUS_01878644           Balazs, re Trust Deed, dated November
                                10, 2015
284   DEFAUS_00558843-          Patent Master Registry                  H; A; R; UP
      DEFAUS_00558844


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285   WITHDRAWN                 WITHDRAWN

286   DEFAUS_01879703-          Email between S. Matthews and Baker H; P; R; A
      DEFAUS_01879703           & McKenzie re Coin-Exch Shares,
                                dated November 16, 2015
      [Attachment]
      DEFAUS_01805854-
      DEFAUS_01805854
287   DEFAUS_01879705-          Email from Stefan to Baker Mckenzie     H; P; R; A;
      DEFAUS_01879707           re Responses to IP report, dated        UP
                                November 16, 2015
288   DEFAUS_00558953-          Email from S. Matthews to R. Watts      H; R
      DEFAUS_00558953           and C. Wright re Ira, dated Noveember
                                20, 2015
289   DEFAUS_00671838-          Email from S. Matthews re The List,     H; A
      DEFAUS_00671839           dated Noember 20, 2015
290   DEFAUS_00558940-          Email from C. Wright to R.              H; R
      DEFAUS_00558942           MacGregor, C. Wright, C. Ayre and R.
                                Watts re Reporter re: satoshi, dated
                                November 21, 2015
291   WITHDRAWN                 WITHDRAWN

292   WITHDRAWN                 WITHDRAWN

293   DEFAUS_00672506-          Email from S. Matthews to C. Ayre, C. H; R
      DEFAUS_00672506           Wright, R. Macgregor, R. Gillespie re
                                Bakers, dated November 26, 2015
294   WITHDRAWN                 WITHDRAWN

295   DEFHC_01059366-           Minutes of Wright International re      H; R
      DEFHC_01059367            Trust Structure


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296   DEF_01611949-             DeMorgan Group Intellectual Property    H; R; A; P;
      DEF_01612168              Ownership Analysis Draft, dated         UP
                                November 27, 2015
297   DEF_01900721-             Email from R. Watts to BLW re           H; P; A; UP
      DEF_01900776              Nathan Firth, dated November 27,
                                2015
298   DEF_01589197-             Email from R. Thomas to C. Wright et    H; R; CHAR;
      DEF_01589385              al re Following up on GST objections,   UP; A
                                dated November 30, 2015
299   DEF_00022610-             Email from C. Wright to R.              H
      DEF_00022611              MacGregor, S. Matthews and R. Watts
                                re Wired, dated December 2, 2015
300   DEFAUS_01074163-           Email with an Excel spreadsheet (BTC   H; A
      DEFAUS_01074164           Details.xlsx)
301   DEF_00022643-             Email from C. Ayre to C. Wright, S.     H; R
      DEF_00022643              Matthews, R. Watts re any news?,
                                dated December 5, 2015
302   DEF_00022600-             Email from R. Watts to C. Wright re     H
      DEF_00022600              Coin-Exch Reports, dated December 6,
                                2015
303   DEF_01113335-             Email from S. Matthews to R. Watts      H; P
      DEF_01113335              and C. Wright re Coin-Exch
                                Shareholders Agreement, dated
                                December 7, 2015
304   DEF_00022658-             Email from C. Wright to R. Watts, R.    H; SPEC
      DEF_00022659              Macgregor, and S. Matthews re
                                URGENT FROM GIZMODO…, dated
                                December 8, 2015
305   DEF_00022689-             Email from C. Wright to R.              H
      DEF_00022689              MacGregor, S. Matthews and R. Watts
                                re Difficult, dated December 8, 2015




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306   2nd Amended Ex. 1 [DE      The Satoshi Affair                       H; R; UP
      83-1]                      Andresen Dep. Ex. 13
                                 Nguyen Dep. Ex. 5
                                 O'Hagan Dep. Ex. 2
                                 Craig Dep. I Ex. 3

307   Antonop. Dep.              A. Antonopoulos Twitter post, dated      H; R; UP
      (01.07.20) Ex. 27-         December 9, 2015
308   DEF_01586025-              Term Sheet re Allocation of IP           H; R; SPEC
      DEF_01586037               Proceeds
309   WITHDRAWN                  WITHDRAWN


310   DEF_01074208-              IP Assignment Deed for Ncrypt            R
      DEF_01074240               Holdings
311   DEF_00055237-              Email from C. Wright to Offshore         H; R
      DEF_00055242               House and Ramona Watts re Tulip
                                 Trading Limited, dated January 11,
                                 2016
312   DEF_00038392-              Email from A. Pedersen to C. Wright      H; R
      DEF_00038393               re PatentsProgress Report, dated
                                 January 16, 2016, with attachment
313   DEF_01895777-              Email from S. Matthews to C. Wright      H; R; P; UP
      DEF_01895784               and R. Watts re legal privilege, dated
                                 January 20, 2016
314   DEF_01895814-              Email from C. Ayre to S. Matthews,       H; R; UP; P
      DEF_01895817               R. Watts, R. Macgregor, C. Wright re
                                 Settlement discussion, dated February
                                 2, 2016
315   DEF_01586038-              Novation Agreement substituting          R
      DEF_01586069               nCrypt Holdings for DR Technologies
                                 Limited



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316   GAVIN_00000796-           Email from J. Matonis to G. Andresen     H; R; A
      GAVIN_00000799            re London Arrangements - March 23-
                                24 [Confidential], dated March 14,
                                2016
317   DEF_00172478-             Email from S. Matthews to C. Wright,     H; R; A; UP;
      DEF_00172478              R. Watts re CSU, dated March 15,         CHAR
                                2016
318   DEF_00172509-             Email with attachments                   H; R
      DEF_00172556              Media Training Session 1, dated March
                                18, 2016
                                Media Training Session Two, dated
                                March 22, 2016
319   GAVIN_00000023-           EITC Holding Limited Non-Disclosure      H; R; A
      GAVIN_00000026            Agreement executed by G. Andresen,
                                dated March 16, 2016 (signed April 1,
                                2016)
320   DEF_00055977-             Reasons for Decision from ATO for        H; R; A; UP;
      DEF_00056032              Integyrz                                 CHAR
321   Eggington Dep. Ex. 2      W. Eggington Consulting Record,          H
                                dated April 27, 2020
322   WITHDRAWN                 WITHDRAWN
323   DEF_00023345-             Email from R. Watts to A. O'Hagan re     H; R; UP; A
      DEF_00023345              Finding the Context , dated March 25,
                                2016
324   Eggington Dep. Ex. 8      Court Opinion in Ceglia v. Zuckerberg,   H; A; R
                                dated March 26, 2013
325   DEF_00023352-             Email from R. Watts to A. O'Hagan re     H; R; A; UP
      DEF_00023353              Finding the Context , dated March 27,
                                2016
326   DEF_00052139-             Email from C. Wright to S. Matthews      H; R
      DEF_00052140              re Coordination, dated March 30, 2016




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327   DEF_00052143-             Email from C. Wright to S. Matthews H; R
      DEF_00052144              re Coordination, dated March 30, 2016
328   DEF_00052146-             Email from R. Watts to S. Matthews re H; R
      DEF_00052146              Leaks, dated March 30, 2016
329   DEF_00052148-             Email from C. Wright to S. Matthews H; R
      DEF_00052149              re Leaks, dated March 30, 2016
330   GAVIN_00001433-           Email from J. Matonis to G. Andresen H; R; A
      GAVIN_00001434            re London Arrangements, dated March
                                30, 2016
331   WITHDRAWN                 WITHDRAWN

332   DEF_00046835-             Email from C. Wright to A. O'Hagan re H; R; UP
      DEF_00046865              Material, dated March 31, 2016
333   DEF_00052171-             Email from R. Macgregor to C. Wright H; R; UP
      DEF_00052173              re London, dated March 31, 2016
334   WITHDRAWN                 WITHDRAWN

335   DEF_01113708-             Email from R. Watts to A. O'Hagan re   A; H; UP; R;
      DEF_01113743              correspondence with Dave K, dated      CHAR
                                March 31, 2016
336   WITHDRAWN                 WITHDRAWN
337   DEF_01605108-             Demorgan Meeting Minutes March         A; H; P; R
      DEF_01605123              2016
                                IP/agreements between DeMOrgan and
                                nCrypt
338   WITHDRAWN                 WITHDRAWN
339   KLEIMAN_00003251-         Email from I. Keiman to P. Paige re    H
      KLEIMAN_00003252          files, dated March 31, 2016




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340   DEF_00172557-             Email from R. MacGregor to S.               H; R
      DEF_00172558              Matthews, C. Wright and R. Watts re
                                FT story, dated April 1, 2016
341   WITHDRAWN                 WITHDRAWN
342   GAVIN_00001286-           Email from G. Andresen to C. Wright         H; R
      GAVIN_00001286            re Introduction, dated April 2, 2016
343   GAVIN_00001467-           Email from S. Matthews to G.                H; R; A
      GAVIN_00001467            Andresen re Introduction, dated April
                                2, 2016
344   GAVIN_00000307-           Email from C. Wright to G. Andresen         R
      GAVIN_00000309            re The state of affairs in a more defined
                                manner, dated April 3, 2016
345   GAVIN_00001120-           Email from C. Wright to G. Andresen         H; R
      GAVIN_00001120            re Introduction, dated April 3, 2016
346   GAVIN_00001260-           Email from C. Wright to G. Andresen         R
      GAVIN_00001269            re selfish miner fallacy explanation ss
                                v3, dated April 3, 2016
347   DEF_01895818-             Email from S. Matthews to J.                H; A; P
      DEF_01895818              Longfellow and R. Watts re IP
                                Transaction and Patent filiing, dated
                                April 4, 2016
348   GAVIN_00001720-           Email from C. Wright to G. Andresen         H; R
      GAVIN_00001721            re Some reading for the plane, dated
                                April 6, 2016
349   GAVIN_00001077-           Email from C. Wright to G. Andresen         H; R;
      GAVIN_00001081            re Some reading for the plane, dated
                                April 6, 2016
350   DEF_01884997-             Implementation Deed Between                 H; R; A
      DEF_01885020              DeMorgan, Calay Holdings, Craig
                                Wright




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351   GAVIN_00001762-           Email from G. Andresen to R.            H; R
      GAVIN_00001762            MacGregor, S. Matthews and C.
                                Wright re Craig Wright, dated April
                                12, 2016
352   DEF_00023302-             Email from C. Wright to R. Macgregor H; R
      DEF_00023305              re Trustee Letter, dated April 17, 2016
353   DEF_00052350-             Email from R. MacGregor to S.          H; R
      DEF_00052351              Matthews, C. Wright and R. Watts re
                                Details, dated April 18, 2016
354   DEF_00722110-             Email from R. MacGregor to R. Watts,   R; H
      DEF_00722111              J. Longfellow (C. Wright) re BBC,
                                dated April 19, 2016
355   GAVIN_00000015-           Email from G. Andresen to S.           H; R; A
      GAVIN_00000015            Matthews re Media, dated April 20,
                                2016
356   GAVIN_00000033-           Email from G. Andresen to S.           H; R; A
      GAVIN_00000033            Matthews re Media, dated April 20,
                                2016
357   WITHDRAWN                 WITHDRAWN

358   WITHDRAWN                 WITHDRAWN
359   DEF_00172752-             Dr. Craig Wright - Media Training     H; R; A
      DEF_00172802              Supplied by MILK Publicity & The
                                Outside Organisation, dated April 26,
                                2016
360   DEF_01587803-             Media Training Packet for Craig       H; R; A
      DEF_01587845              Wright
361   GAVIN_00001007-           Email from C. Wright to G. Andresen R
      GAVIN_00001007            and J. Matonis re And soon to Paris,
                                dated April 27, 2016




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362   GAVIN_00001521-            Email from S. Matthews to G.             H; R; A
      GAVIN_00001521             Andresen re Introduction, dated April
                                 27, 2016
363   GAVIN_00001179-            Email from C. Wright to A. Andresen,     R; H
      GAVIN_00001179             J. Matonis, S. Matthews and A.
                                 Pedersen re Debug logs, dated April
                                 29, 2016
364   GAVIN_00000810-            Email from G. Andresen to A.             H; R; A
      GAVIN_00000811             O'Hagan re via Stefan Matthews, dated
                                 April 29, 2016
365   DEF_00052372-              Email from N. Caley to R. Watts re       R; H
      DEF_00052377               UPDATED TIMELINE - MONDAY
                                 02 MAY 2016, dated April 30, 2016
366   GAVIN_00000005-            Email from S. Matthews to G.             H; R; A
      GAVIN_00000005             Andresen re Hi Gavin, dated May 2,
                                 2016
367   GAVIN_00000047-            Email from S. Matthews to G.             H; R
      GAVIN_00000048             Andresen re Additional proof, dated
                                 May 2, 2016
368   GAVIN_00000161-            Email from C. Wright to S. Matthews      R; H
      GAVIN_00000161             re Additional proof, dated May 2, 2016
369   GAVIN_00000371-            Email from C. Wright to G. Andresen      R; H
      GAVIN_00000371             re What's with the funky proof?, dated
                                 May 2, 2016
370   Andresen Dep. Ex. 69       Document from G. Andresen titled         H; R; A
                                 "Satoshi", dated May 2, 2016
371   Antonop. Dep.              Sam Biddle and A. Cush, "This            H; A
      (01.07.20) Ex. 26          Australian Says He and His Dead
                                 Friend Invented Bitcoin, Gizmodo,"
                                 dated May 2, 2016
372   Antonop. Dep.              A. Antonopoulos Twitter post, dated      H; R
      (01.07.20) Ex. 29-         May 2, 2016 "My faith in bitcoin is
                                 unchanged from yesterday"


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373   DEF_00052436-             Email from C. Wright to R. McGregor,      H; R; UP
      DEF_00052436              S. Matthews, and R. Watts re PGP
                                Key, dated May 3, 2016
374   DEF_00052460-             Email from R. Macgregor to S.             H; R; UP
      DEF_00052460              Matthews, C. Wright and R. Watts re
                                this morning, dated May 3, 2016
375   DEF_00172916-             Email from R. Macgregor to S.             H; R; UP
      DEF_00172916              Matthews, C. Wright and R. Watts re
                                this morning, dated May 3, 2016
376   GAVIN_00000004-           Email from G. Andresen to S.              H; R; A
      GAVIN_00000004            Matthews re moving bitcoin, dated
                                May 3, 2016
377   GAVIN_00000018-           Email from S. Matthews to G.              H; R
      GAVIN_00000018            Andresen and C. Wright re Additional
                                proof, dated May 3, 2016
378   GAVIN_00000357-           Email from U. Nguyen to G. Andresen       H; A
      GAVIN_00000358            re I am Uyen - trustee of SN trust,
                                dated May 3, 2016
379   GAVIN_00000893-           Email from M. Nobuyuki to G.              H; A
      GAVIN_00000895            Andresen to J. San, I. G., M. Hardy, J.
                                VaughnPerling and G. Andresen re I
                                am Uyen - trust of SN trust, dated May
                                3, 2016
380   GAVIN_00001708-           Email from C. Wright to G. Andresen       H; R
      GAVIN_00001708            re What's with the funky proof?, dated
                                May 3, 2016
381   DEF_00046731-             Email from R. Macgregor to S.             H
      DEF_00046731              Matthews, C. Wright and R. Watts re
                                Hal, dated May 4, 2016
382   DEF_00181691-             Email from R. Watts re Rob, dated         H; A; R; UP
      DEF_00181691              May 4, 2016




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383   GAVIN_00000622-            Email from M. Nobuyuki to G.              H; A
      GAVIN_00000623             Andresen re I am Uyen - trust of SN
                                 trust, dated May 4, 2016
384   GAVIN_00000683-            Email from R. MacGregor to J.             H; R; A
      GAVIN_00000684             Matonis and G. Andresen re Draft
                                 Blog, dated May 4, 2016
385   GAVIN_00000769-            Email from R. MacGregor to G.             H; R; UP; A
      GAVIN_00000770             Andresen re Draft Blog, dated May 4,
                                 2016
386   GAVIN_00001206-            Email from R. Macgregor to J. Matonis     H; R; A; UP
      GAVIN_00001207             re Draft Blog, dated May 4, 2016
387   GAVIN_00001334-            Email from A. Andresen to M.              H; A
      GAVIN_00001335             Nobuyuki re I am Uyen - trustee of SN
                                 trust, dated May 4, 2016
388   GAVIN_00001075-            Email from G. Andresen to C. Wright       H; R
      GAVIN_00001075             re Please, take time for yourself, and
                                 let others help take care of you, dated
                                 May 5, 2016
389   GAVIN_00000016-            Email from S. Matthews to G.              H; R; A
      GAVIN_00000016             Andresen re just in case, dated May 5,
                                 2016
390   Antonop. Dep.              A. Antonopoulos Twitter post, dated       H; R
      (01.07.20) Ex. 30          May 2, 2016 "Avoid schadenfreude.
                                 Con artists can fool even the smartest
                                 people. What happened to Gavin and
                                 Jon could happen to anyone."
391   NGUYEN000229-              Email from J. Nguyen to R.                H; R; A
      NGUYEN 000229              MacGregor re 3,2,1 … dated May 5,
                                 2016
392   GAVIN_00000041-            Email from C. Wright to G. Andresen       R; UP
      GAVIN_00000042             re My apologies, dated May 7, 2016




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393   GAVIN_00001821-            Email from I. Kleiman to G. Andresen H; R
      GAVIN_00001821             re I. Kleiman, dated May 8, 2016
394   Eggington Dep. Ex. 9       Defendants' Motion to Exclude Expert H; R
                                 Testimony of G. McMenamin in
                                 Dutcher v. Bold Films LP, dated April
                                 6, 2018
395   GAVIN_00001759-            Email from I. Kleiman to G. Andresen H; CHAR;
      GAVIN_00001760             re Proof, dated May 11, 2016          ILO
396   Eggington Dep. Ex. 3       Expert Engagement Letter from Z.         H
                                 Kass to W. Eggington, dated April 13,
                                 2020
397   DEF_00177749-              Email with Demorgan meeting              H; R; A
      DEF_00177753               minutes dated May 17, 2016
398   DEF_01074241-              C. Wright Power of Attorney              R
      DEF_01074243               appointing nCrypt Limited, dated
                                 August 22, 2016
399   Eggington Dep. Ex. 6       Expert Report of R. Leonard, dated       H
                                 April 10, 2020
400   NGUYEN001586-              Contracted Services Agreement Term       H; R
      NGUYEN 001597              Sheet between J. Nguyen and EITC
                                 Holdings Ltd. Dated September 1,
                                 2016
401   GAVIN_00001512-            Email from C. Wright to G. Andresen      R
      GAVIN_00001512             re Thank you, dated November 17,
                                 2016
402   NGUYEN000642-              Email from S. Matthews to J. Nguyen      H; R; A
      NGUYEN 000642              re PR Firm Engagement Letter, dated
                                 December 27, 2016
403   NGUYEN001404-              Email from J. Nguyen to J. Diaferia re   H; R
      NGUYEN 001405              nChain Holdings Limited, dated
                                 January 23, 2017



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404   NGUYEN000004-              Email from A. Davis to J. Nguyen and    H; R; A;
      NGUYEN000004               S. Matthews re confidential, dated      COM
                                 February 14, 2017
405   GAVIN_00000344-            Email from C. Wright to G. Andresen     H; R; UP
      GAVIN_00000346             re Finalisation of Comprehensive Risk
                                 Review [DLM=Sensitive], dated May
                                 3, 2017
406   GAVIN_00000732-            Email from C. Wright to G. Andresen     H; R
      GAVIN_00000732             re Trolls, dated May 3, 2017
407   GAVIN_00000869-            Email from G. Andresen to C. Wright     H; R
      GAVIN_00000870             re Finalisation of Comprehensive Risk
                                 Review [DLM=Sensitive], dated May
                                 3, 2017
408   GAVIN_00001274-            Email from C. Wright to G. Andresen     H; R
      GAVIN_00001275             re Trolls, dated May 3, 2017
409   GAVIN_00001439-            Email from G. Andresen to C. Wright     H; R
      GAVIN_00001439             re Finalisation of Comprehensive Risk
                                 Review [DLM=Sensitive], dated May
                                 3, 2017
410   GAVIN_00001482-            Email from C. Wright to G. Andresen     H; R
      GAVIN_00001482             tr Finalisation of Comprehensive Risk
                                 Review, dated May 3, 2020
411   GAVIN_00001974-            Email from C. Wright to G. Andresen     R; UP
      GAVIN_00001974             re A year ago, dated May 3, 2017
412   KLEIMAN_00004288-          Email from C. Wright to I. Kleiman re A; H
      KLEIMAN_00004288           scronty, dated May 10, 2017
413   Antonop. Dep.              A. Antonopoulos Twitter posts re      H; R
      (01.07.20) Ex. 24          disagreeing with C. Wright about
                                 Segwit, dated June 19, 2017
414   Antonop. Dep.              A. Antonopoulos Twitter posts re      H; R
      (01.07.20) Ex. 25          disagreeing with C. Wright about
                                 Segwit, dated June 19, 2017


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415   DEFHC_01518378-            Trust Agreement for the Tulip Trust,   H; R; CHAR
      DEFHC_01518407             dated July 6, 2017
416   WITHDRAWN                  WITHDRAWN

417   KLEIMAN_00385767-          Email from I. Kleiman to C. Wright re A; H; UP
      KLEIMAN_00385768           scronty, dated September 29, 2017
418   Antonop. Dep.              Twitter exchange between R. Ver and H; R
      (01.07.20) Ex. 8           A. Antonopoulos, dated December 5,
                                 2017
419   Antonop. Dep.              A. Antonopoulos on Patreon, "In      H; R
      (01.07.20) Ex. 15          defense of optimism," dated December
                                 6, 2017
420   KLEIMAN_00002287-          Email from A. Ojea to I. Kleiman re  H; R; UP
      KLEIMAN_00002295           David, dated December 7, 2017
421   Antonop. Dep.              Lucind Shen, "Why People Are Giving H; R
      (01.07.20) Ex. 10-         This Man Almost $2 Million in Free
                                 Bitcoin," Fortune, dated December 8,
                                 2017
422   WITHDRAWN                  WITHDRAWN

423   Antonop. Dep.              Twitter Response to Karma Machine H; R
      (01.07.20) Ex. 23          from A. Antonopoulos, dated February
                                 17, 2018
424   2nd Amended Ex. 21         Letter from S. Harris from the U.S.   H; IC; COM
      [DE 83-21]                 Department of Homeland Security to
                                 K. Roche re 2018-STFO-00106, dated
                                 March 22, 2018
425   2nd Amended Ex. 29         Declaration of C. Wright, dated April R; CHAR
      [DE 83-29]                 15, 2018




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426   Antonop. Dep.              A. Antonopoulos Twitter response to    H; R; UP
      (01.07.20) Ex. 31-         HodlrDotRocks, dated May 24, 2018
427   Craig Dep. I Ex. 9         Declaration of C. Wright, dated June   R; CHAR
                                 14, 2018
428   2nd Amended Ex. 33         Civil Theft Demand Letter from V.     H; R
      [DE 83-33]                 Freedman to Andres Rivero, Esq.
429   GAVIN_00000295-            Email from C. Wright to R. Ver and G. R
      GAVIN_00000295             Andresen re :), dated July 17, 2018
430   Antonop. Dep.              A. Antonopoulos Twitter posts re       H; R; UP
      (01.07.20) Ex. 32          Faketoshi, dated November 16, 2018
431   Antonop. Dep.              Mark Emem, "Shots Fired: Craig          H; R
      (01.07.20) Ex. 33          Wright Calls Bitcoin Evangelist
                                 Andreas Antonopoulos 'Sh*tcoin
                                 Expert," CNN, dated January 4, 2019
432   Craig Dep. IV Ex. Tag 2    Twitter post from C. Wright to          H
                                 VeryVeriViral re "Neither of us mined
                                 after 2011 (only just starting again in
                                 2018)," dated January 15, 2019
433   Pl. Opp. MSJ Ex. 34        Craig, Wright, The story of Bitcoin,    R
      [DE 534-34]                continued, dated February 9, 2019
434   Craig Dep. III Ex. Z10     The Bad Crypto Podcast - "Is Craig     H; R; A
                                 Wright the Real Satoshi?" dated
                                 February 20, 2019
435   WITHDRAWN                  WITHDRAWN

436   Warren Dep. Ex. P1         Stipulated Confidentiality Order signed R
                                 by J. Warren, dated July 24, 2019




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437   Nguyen Dep. Ex. 9          Finance Magnates Interview - Jimmy       H; A; UP; R;
                                 Nguyen: Bitcoin SV is Bigger than        MIL
                                 Craig Wright. The former CEO of
                                 nChain discusses the BSV ecosystem
                                 and the effects of the media attention
                                 on Craig Wright, dated September 4,
                                 2019
438   Pl. Opp. MSJ Ex. 15        Declaration of Brendan J. Sullivan in    H; UP
      [DE 534-15]                Support of Non-Party Brendan J.
                                 Sullivan's Motion to Quash, dated
                                 September 9, 2019
439    Craig S. Wright,          Craig S. Wright, Satoshi's Vision: The   H; R;
      Satoshi's Vision: The      Art of Bitcoin (2019)
      Art of Bitcoin (2019)
440   Antonop. Dep.              David Stancel, "Coin Perspective #1: H; BOL
      (01.07.20) Ex. 20          Andeas Antonopolous, Bitcoin is more
                                 resilent than I thought!" Medium, dated
                                 October 8, 2019
441   O'Hagan Dep. Ex. 1         Witness Statement of A. O'Hagan,        H; R; BOL
                                 dated November 22, 2019
442   Antonop. Dep.              A. Antonopoulos Amended Subpoena R
      (01.07.20) Ex. 1           to Testify and Request for Documents,
                                 dated January 2, 2020
443   Klin Dep. Ex. 1            Engagement Letter from Z. Kass ro A. H; R
                                 Klin, dated April 6, 2020
444   Klin Dep. Ex. 2            Invoice from A. Klin to Z. Kass and M. H; R
                                 Hall, dated April 13, 2020
445   Antonop. Dep.              A. Antonopoulos Twitter posts, dated     H; R
      (01.07.20) Ex. 21          January 4, 2020




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446   [DE 376]                   Craig Wright's Notice of Compliance    R
                                 with Court's January 10, 2020 Order,
                                 dated January 14, 2020
447   Pl. Opp. MSJ Ex. 29        Craig Wright, Looking the other way,   R
      [DE 534-29]                dated January 17, 2020
448   Edman Dep. Ex. 4           Edman's Relativity Documents dated     H; A; R
                                 February 3, 2020 (See Edman Tr.
                                 40:15)
449   WITHDRAWN                  WITHDRAWN

450   Edman Dep. Ex. 6           Hash Values (See Edman Tr. 47:11)      H; UP

451   Leonard Dep. Ex. G         Email from A. Brenner to N. Dagley re H; R
                                 Deposition of Robert Leonard, dated
                                 April 24, 2020
452   DEFHC_00000204-            Bitmessages from D. Kleiman to C.       H; R; A;
      DEFHC_00000205             Wright re The trust process, dated 2012 CHAR
453   Antonop. Dep.              I am Andreas M. Antonopoulos,          H; BOL
      (01.07.20) Ex. 13          Author of "Mastering Bitcoin"- Ask
                                 Me Almost Anything! (IamAMA
                                 AMB AMAA!)
454   WITHDRAWN                  WITHDRAWN
455   DEFAUS_00112093-           Discretionary Trust Deed Template   H; R; A
      DEFAUS_00112106            between C. Wright, W&K and
                                 Panopticrypt Pty Ltd, dated 2019
456   Nguyen Dep. Ex. 12         J. Nguyen Interview with SFOX - The H; R; A
                                 Future of Bitcoin, January 2019
457   NGUYEN000875-              Baker & McKenzie - EITC Holding        A; H; R;
      NGUYEN 000891              Ltd. - IP valuation analysis, dated    SPEC; UP
                                 October 2016


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458   Craig Dep. IV Ex. Tag 1    C. Wright Facebook Timeline - "I         H; R; A
                                 stopped mining in 2012. I leave that for
                                 others now," dated December 2014
459   DEF_01667372-              Emails between C. Wright and M.          H; R; A;
      DEF_01667372               Ferrier, dated February 2013             CHAR
460   Nguyen Dep. Ex. 13         J. Nguyen Interview with Bitstocks      H; R
                                 Media, March 2019
461   Nguyen Dep. Ex. 3-         J. Nguyen Interview with Coin Geek in H; R; A
                                 April 2019
462   WITHDRAWN                  WITHDRAWN
463   KIMON_00000024-            Chat conversations between K.         H; R; UP
      KIMON_00000200             Andreou and D. Kleiman, dated July 2,
                                 2009 through April 18, 2013
464   DEF_01597542-              Statement of a Witness in Police v.   H; R; A;
      DEF_01597655               Ferris, dated July 2014               CHAR; UP
465   WITHDRAWN                  WITHDRAWN

466   DEF_00013147-              Bitmessage with handwritten note   H; R; A;
      DEF_00013147               "This shows Dave Kleiman is mapped CHAR
                                 to the above bitmessage address"
467   WITHDRAWN                  WITHDRAWN

468   DEF_00022424-              Spreadsheet titled "Shareholders"       H; A; BER
      DEF_00022425




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469   DEF_00073807-              Baker & McKenzie - IP Assignment         R
      DEF_00073943               Deed for Ncrypt Holdings Ltd,
                                 DeMorgan Limited, DeMorgan
                                 Holdings Pty. Ltd., Misfit Games Pty.
                                 Ltd., Panopticrypt Pty Ltd, Coin-Exch
                                 Pty. Ltd., Integyrz Pty Ltd, Pholus Pty.
                                 Ltd., Cloudcroft Pty. Ltd., Chaos and
                                 Nonlinear Forecasting in Economics
                                 and Finance Pty. Ltd., CO1N Pty Ltd,
                                 Denariuz Pty. Ltd., Interconnected
                                 Research Pty. Ltd., Zuhl Pty. Ltd. and
                                 Daso Pty. Ltd.
470   WITHDRAWN                  WITHDRAWN

471   DEF_01590090-              Letter from D. Rockwell to A. Sommer H; R; A
      DEF_01590101               re integrating the SGI and SuperMicro
                                 systems into a single interconnect
                                 requested by C. Wright
472   WITHDRAWN                  WITHDRAWN

473   DEF_01885032-              Baker & McKenzie - IP Assignment        H; A
      DEF_01885045               Deed for W&K and Ncrypt Holdings
                                 Ltd (not signed by WK)
474   WITHDRAWN                  WITHDRAWN

475   Nicholson Dep. I Ex. 2     Invoice from W. Nicholson to A.         H; R
                                 Rivero, dated January 6, 2020
476   Nicholson Dep. I Ex. 3     Engagement Letter from W. Nicholson H; R
                                 to A. Rivero, dated January 9, 2020




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477   GAVIN_00002007-            Reddit private message exchange     H; R; A
      GAVIN_00002012             between user etmetm and G. Andresen
478   KIMON_00009284-            D. Kleiman CV                         H
      KIMON_00009286
479   Antonop. Dep.              A. Antonopoulos Bitcoin address       H; R
      (01.07.20) Ex. 11
480   Antonop. Dep.              Chart that shows outflows from Bitcoin H; R
      (01.07.20) Ex. 12          address
481   Antonop. Dep.              A. Antonopoulos' Donation Page on     H; R
      (01.07.20) Ex. 16          website
482   Nicholson Dep. II Ex. 1    Invoice from W. Nicholson to A.       H; R
                                 Rivero, dated February 10, 2020
483   WITHDRAWN                  WITHDRAWN

484   Antonop. Dep.              Extended Bio - Andreas M.             H; BOL
      (01.07.20) Ex. 18          Antonopolous
485   Antonop. Dep.              A. Antonopoulos Twitter posts         H; R; BOL
      (01.07.20) Ex. 22
486   Antonop. Dep.              A. Antonopolous CV                    H; BOL
      (01.07.20) Ex. 7
487   Antonop. Dep.              Conversation on Reddit                H; R; BOL
      (01.07.20) Ex. 9
488   WITHDRAWN                  WITHDRAWN'

489   Edman Dep. Ex. 9           Zip file (See Edman Tr. 102:2)        H; R; A; IC;
                                                                       UP




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490   Leonard Dep. Ex. F        International Association of Forensic   H
                                Linguists Code of Practice
491   WITHDRAWN                 WITHDRAWN

492   Nguyen Dep. Ex. 14        J. Nguyen Interview with V. Everts      H; R
493   Nguyen Dep. Ex. 15-       J. Nguyen Interview with nChain         H; R

494   Nguyen Dep. Ex. 18        J. Nguyen Interview with Trader Cobb H; R; A

495   Nguyen Dep. Ex. 1         J. Nguyen LinkedIn Profile Page         H; R; A

496   Radvanovsky Dep. Ex. 1    R. Radvanovsky LinkedIn Profile Page H; R

497   Radvanovsky Dep. Ex. 2    Document titled "Robert                 H; R
                                Radvanovsky's Books"
498   Wilson Dep. Ex. 19        J. Wilson's Business Card               H; R; A
499   Wilson Dep. Ex. 21        J. Wilson LinkedIn Profile Page         H; R; A
500   WITHDRAWN                 WITHDRAWN

501   DEF_00023312-             Screenshot                              H; A; UP;
      DEF_00023314                                                      CML
502   DEF_01588228-             WFT Holding Map                         A; H; UP
      DEF_01588242
503   WITHDRAWN                 WITHDRAWN

504   DEF_01904755-             Word Document “Strasan/CO1N”            H; R; UP;
      DEF_01904756                                                      BER



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505   DEFAUS_00556318-           Spreadsheet                            H; A; BER
      DEFAUS_00556319
506   WITHDRAWN                  WITHDRAWN

507   WITHDRAWN                  WITHDRAWN
508   WITHDRAWN                  WITHDRAWN
509   Pl. MSJ Ex. 6 [DE 511-     Transcript of Australian proceedings   H; A; R
      11]
510   Nguyen Dep. Ex. 2          J. Nguyen Interview with Cryotofinder H; R

511   Nguyen Dep. Ex. 20         C. Wright and J. Nguyen Presentation H; R
                                 Speech at Oxford Union
512   Nguyen Dep. Ex. 21         C. Wright and J. Nguyen Interview on H; R
                                 Coin Geek Channel
513   WITHDRAWN                  WITHDRAWN

514   DEF_00013189-              Email from D. Kleiman to C. Wright re H; A; CHAR;
      DEF_00013189               Requested attached, dated June 24,    CML
                                 2011
515   Show Cause Ex. 3 [DE       DEF_00013189 Metadata                 H; A; CHAR;
      237-3]                                                           COM; R1006;
                                                                       UP
516   Show Cause Ex. 4 [DE       DEF_00013189 Metadata                 H; A; CHAR;
      237-4]                                                           COM; R1006;
                                                                       UP
517   Show Cause Ex. 5 [DE       Calendar                              H; A; R;
      237-5]                                                           DEM
518   DEF_00013459-              Email from D. Kleiman to C. Wright re H; A; CHAR
      DEF_00013459               Requested attached, dated October 17,
                                 2014


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519   Show Cause Ex. 7 [DE      DEF_00013459 Metadata                H; A; CHAR;
      237-7]                                                         COM; R1006;
                                                                     UP
520   Show Cause Ex. 8 [DE      DEF_00013459 Metadata                H; A; CHAR;
      237-8]                                                         COM; R1006;
                                                                     UP
521   Show Cause Ex. 10 [DE     DEF_00050985 Metadata (Tulip Trust H; A; CHAR;
      237-10]                   Deed)                                COM; R1006;
                                                                     UP
522   DEFAUS_00058790-          Email from C. Wright to D. Mayaka re H
      DEFAUS_00058793           Aged Shelf Company, dated October
                                17, 2014
523   DEF_00046659-             Transfer Receipt                     H; A; CHAR
      DEF_00046670              Abacus Invoice
524   WITHDRAWN                 WITHDRAWN
525   DEFAUS_00058811-          Email from D. Mayaka to C. Wright re H
      DEFAUS_00058832           Tulip Trading, dated October 20, 2014
526   DEFHC_00000360-           Trust Documents                        H; A; R
      DEFHC_00000376
527   DEF_00069774-             Agreement between C. Wright and        H; A; R
      DEF_00069778              Equator, dated April 28, 2016
528   Show Cause Ex. 20 [DE     Search results for '0x4ff1cfebc941fe6d' H; R: A
      237-20]
529   DEFHC_00000195-           Blog Post re Liberty Payment (2)       H; A
      DEFHC_00000196
530   DEF_00050990-             Discretionary Trust Deed Template    H
      DEF_00050102              between C. Wright, Tulip Trading and
                                Panopticrypt Pty Ltd, dated October
                                24, 2012



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531   DEF_00013755-             Wright International Investments    H; R; UP
      DEF_00013756              Meeting Minutes, dated December 19,
                                2014
532   Show Cause Ex. 24 [DE     Edman CV                            H; BOL
      268-1]
533   Show Cause Ex. 25 [DE     GEOIP2 Precision Lookup Form        H; A; R
      268-2]
534   Show Cause Ex. 26 [DE     How to Determine Outlook Version    H; A; R
      268-3]                    Information
535   Show Cause Ex. 27 [DE     DEF_00013459 Metadata                 H; A; CHAR;
      268-4]                                                          COM; R1006;
                                                                      UP
536   Show Cause Ex. 28 [DE     DEF_00013459 Metadata                 H; A; CHAR;
      268-5]                                                          COM; R1006;
                                                                      UP
537   Show Cause Ex. 29 [DE     DEF_00013459 Metadata                 H; A; CHAR;
      268-6]                                                          COM; R1006;
                                                                      UP
538   DEFAUS_00079344-          Email from D. Kleiman to C. Wright re H; A; CML
      DEFAUS_00079346           Requested attached, dated June 24,
                                2011
539   Show Cause Ex. 31 [DE     DEF_00079344 Metadata                 H; A; CHAR;
      268-8]                                                          COM; R1006;
                                                                      UP
540   DEF_00013188-             Email from D. Kleiman to C. Wright re H; A
      DEF_00013188              Requested attached, dated April 2,
                                2013
541   Show Cause Ex. 33 [DE     DEF_00013188 Metadata                 H; A; CHAR;
      268-10]                                                         COM; R1006;
                                                                      UP




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542   Show Cause Ex. 34 [DE      DEF_00013188 Metadata                 H; A; CHAR;
      268-11]                                                          COM; R1006;
                                                                       UP
543   Show Cause Ex. 35 [DE      DEF_00050985 Metadata                 H; A; CHAR;
      268-12]                                                          COM; R1006;
                                                                       UP
544   Show Cause Ex. 36 [DE      DEF_00050985 Metadata                 H; A; CHAR;
      268-13]                                                          COM; R1006;
                                                                       UP
545   Show Cause Ex. 37 [DE      DEF_00050985 Metadata                 H; A; CHAR;
      268-14]                                                          COM; R1006;
                                                                       UP
546   DEF_00027291-              Email from D. Kleiman to C. Wright re H; A
      DEF_00027292               Divorce, dated September 7, 2012
547   Show Cause Ex. 39 [DE      DEF_00027291 Metadata                H; A; CHAR;
      268-16]                                                         COM; R1006;
                                                                      UP
548   Show Cause Ex. 40 [DE      DEF_00027291 Metadata                H; A; CHAR;
      268-17]                                                         COM; R1006;
                                                                      UP
549   Show Cause Ex. 41 [DE      GnUPG.org                            H; A; R;
      268-18]                                                         CHAR
550   Show Cause Ex. 43 [DE      DEF_00028008 Metadata                H; A; CHAR;
      268-20]                                                         COM; R1006;
                                                                      UP
551   Show Cause Ex. 44 [DE      0b67f9…..                            H; A
      268-21]
552   DEF_00000465-              Email from C. Wright to I. Kleiman re H; A
      DEF_00000490               Questions, dated April 24, 2014
553   Sanctions Ex. 1 [DE        Divorce Application                   H; R; A; UP
      512-1]



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554   DEF_01586024-              CSW Filed List                          H; A; R
      DEF_01586024
555   Sanctions Ex. 15 [DE       JBruk Ltd Companies House Listing       H; R; A
      512-15]
556   Resp. to MJOP Ex. 2        Limited Liability Company Annual        H; R; A
      [DE 159-2]                 Report Help
557   Resp. to MJOP Ex. 3        Florida Division of Corporations - Title H; A; R
      [DE 159-3]                 Abbreviations
558   Resp. to MJOP Ex. 4        CCN.Com Article re Craig Wright         H; A; R; UP;
      [DE 159-4]                 Allegedly Submits Fake Email in         ILO; CHAR
                                 Lawsuit
559   Resp. to MJOP Ex. 5        Reddit Post re The Fraud Continues,     H; A; R; UP;
      [DE 159-5]                 dated April 17, 2019                    ILO; CHAR
560   Resp. to MJOP Ex. 6        Chepicap.com Article re Did Craig       H; A; R; UP;
      [DE 159-6]                 Wright just submit a faked email as     CHAR; ILO
                                 evidence for his lawsuit?
561   Resp. to MJOP Ex. 7        "Faketoshi Craig Wright Presents        H; A; R; UP;
      [DE 159-7]                 Provably Fake Documents in Kleiman      CHAR; ILO
                                 Case"
562   Resp. to MJOP Ex. 8        Dr. Funkenstein6 Tweet                  H; A; R; UP;
      [DE 159-8]                                                         CHAR; ILO
563   Resp. to MJOP Ex. 10       Email from C. Wright to C. Wright re    H; A
      [DE 159-10]                Appointment Letter, dated April 16,
                                 2014
564   KLEIMAN_00004796-          Email from I. Kleiman to U. Ng re       H; R
      KLEIMAN_00004796           Dave K, dated February 16, 2014
565   SMJ Sur-Reply Ex. 1        C01N Penalty and Interest Position      H; R; A; UP;
      [DE 191-1]                 Paper, dated March 11, 2016             CHAR
566   WITHDRAWN                  WITHDRAWN


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567   DEF_00030089-             Email from U. Ng to R. Watts re ATO H; R
      DEF_00030091              request, dated June 23, 2015
568   SMJ Sur-Reply Ex. 4       Bitcoin.com Article re Uyen Nguyen,    H; A
      [DE 191-4]                dated April 6, 2019
569   DEF_00045270-             Coin-Exch Meeting Minutes              R; A
      DEF_00045270
570   DEFAUS_00105469-          Email from C. Wright to M. Halloran    H; R
      DEFAUS_00105475           dated June 27, 2013
                                Private Ruling Application
571   WITHDRAWN                 WITHDRAWN

572   DEFAUS_00111382-          Email from J. Chesher to D. Mcmaster   H; R; CHAR;
      DEFAUS_00111385           re Our Meeting Monday                  CML
573   DEFAUS_00112504-          Email from J. Chesher to A. Sommer     H; R; CML;
      DEFAUS_00112598           re Audit Interview                     UP; CHAR
                                GST Calculation Worksheet for Craig
                                Wright R&D
574   WITHDRAWN                 WITHDRAWN

575   DEFAUS_00112964-          Email from C. Wright to P. Paige re    H
      DEFAUS_00112967           Difficult, dated February 17, 2014
576   WITHDRAWN                 WITHDRAWN

577   DEFAUS_00113709-          GST Audit Report                       H; R; A
      DEFAUS_00113710
578   DEFAUS_00115579-          Email from C. Wright to I. Kleiman re H; A
      DEFAUS_00115581           FW: 32 Wipe Fallacy
579   DEFAUS_00553245-          Email from C. Wright to U. Nguyen re H
      DEFAUS_00553249           Response



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580   DEFAUS_00553266-          Email from C. Wright to U. Nguyen re H
      DEFAUS_00553269           Final
581   DEFAUS_01565341-          Email from A. Sommer re Coin-Exch       H; R; P; UP;
      DEFAUS_01565366           Interim Report                          MIL; CHAR
582   DEFAUS_01754192-          Letter to A. Miller dated May 9, 2014H; A; UP;
      DEFAUS_01754211                                                SPEC; MIL;
                                                                     CHAR
583   DEFAUS_01765303-          Email from R. Watts re Missing Pages H; R; CHAR
      DEFAUS_01765396           Response to ATO Letter
584   WITHDRAWN                 WITHDRAWN

585   DEFAUS_01769266-          Strasan Development Agreement           H; A; CML;
      DEFAUS_01769446           Email from C. Wright to R. Watts re     CHAR; UP;
                                Hotwire                                 R
586   WITHDRAWN                 WITHDRAWN

587   WITHDRAWN                 WITHDRAWN

588   DEFHC_00001745-           Statement of Claims filed in New        H; R;
      DEFHC_00001750            South Wales Supreme Court               A;CHAR
589   WITHDRAWN                 WITHDRAWN

590   WITHDRAWN                 WITHDRAWN

591   DEF_00028003-             Email from C. Wright to C. Wright re    H; R; A
      DEF_00028004              IFIP…, dated March 1, 2014
592   DEF_00031275-             Email from C. Wright to M. Italia re  H; R; A
      DEF_00031314              Email 1 re Notification of audit ABN
                                48 164 068 348, dated October 6, 2013


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                                Hotwire Tax Invoice
                                Hotwire GST Calculation Worksheet
                                Letter to C. Wright re Private Ruling
593   WITHDRAWN                 WITHDRAWN

594   WITHDRAWN                 WITHDRAWN

595   WITHDRAWN                 WITHDRAWN

596   DEF_00040537-             Email from A. Pedersen to C. Wright H; R
      DEF_00040612              and R. Watts re: DeMorgan
                                Information Pack, dated May 22, 2015
                                Demorgan Information Pack
597   WITHDRAWN                 WITHDRAWN

598   DEF_00046093-             Screenshot of Wallet                    H
      DEF_00046097              Screenshot of XE.com
                                Screenshot of XE.com
599   WITHDRAWN                 WITHDRAWN

600   WITHDRAWN                 WITHDRAWN

601   WITHDRAWN                 WITHDRAWN

602   WITHDRAWN                 WITHDRAWN
603   DEF_00052366-             Email from C. Wright to V. Brooks       H; R
      DEF_00052371              dated April 29, 2016
604   DEF_00053896-             Audit Position Paper                    H; R; UP;
      DEF_00053948                                                      CHAR;


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605   WITHDRAWN                 WITHDRAWN

606   DEF_00055247-             Search Warrant                       H; R; UP:
      DEF_00055266                                                   CHAR
607   DEF_00055764-             Reasons for Decision from ATO for    H; A; R;
      DEF_00055819              Zuhl, dated April 12, 2016           CHAR; UP
608   DEFAUS_00062743-          Email from U. Ng to A. Synnott re      H; A; R;
      DEFAUS_00062751           ATO request, dated August 14, 2015
609   DEF_00066421-             Notice of Objection re Denariuz, dated H; R; CHAR;
      DEF_00066430              October 29, 2014                       UP
610   WITHDRAWN                 WITHDRAWN

611   DEF_00172559-             Email from S. Matthews to C. Wright H; R
      DEF_00172561              re INVENTOR OF BITCOIN…, dated
                                April 21, 2016
612   DEF_00233242-             Screenshot of Bill Private Ruling   H; R; A
      DEF_00233242
613   DEF_00247440-             Bitmessage Settings                  H; A; CHAR
      DEF_00247442
614   DEF_01099220-             Cloudcroft GST Calculation           H; R; A
      DEF_01099228              Worksheet
615   DEF_01105236-             Email from C. Wright to A. Sommer re H; R; P
      DEF_01105241              Invoice dated May 27, 2015
616   DEF_01587998-             Email from Highsecured to A. Sommer H; R; A; P;
      DEF_0158801               re Contract Verification, dated May 25, CHAR
                                2015
617   WITHDRAWN                 WITHDRAWN




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618   WITHDRAWN                 WITHDRAWN
619   WITHDRAWN                 WITHDRAWN
620   DEF_01590524-             Description of Transactions          H; R; P
      DEF_01590526
621   DEF_01597478-             Email from C. Wright to J. Chesher, A. H; R; A;
      DEF_01597496              McCaughan, J. Slater and N. Mavrakis CML; CHAR;
                                re Beer and congrats, dated February 3, UP
                                2014
622   WITHDRAWN                 WITHDRAWN

623   WITHDRAWN                 WITHDRAWN

624   DEF_01631091-             Demorgan Limited Tax Invoice         H; R; P
      DEF_01631105
625   DEF_01667258-             Email from C. Wright to K. Unger re H; R; A;
      DEF_01667420              Statement, dated June 16, 2014       CHAR; UP
                                Bitcoin Tax Implications
                                How Bitcoin Protocol Actually Works
                                Screenshot of Mark Ferrier Bitmesage
626   WITHDRAWN                 WITHDRAWN

627   WITHDRAWN                 WITHDRAWN
628   WITHDRAWN                 WITHDRAWN
629   WITHDRAWN                 WITHDRAWN

630   KLEIMAN_00278248-         Email from C. Wright to I. Kleiman re H
      KLEIMAN_00278249          FW: Design by…, dated Feb. 28, 2014
631   WITHDRAWN                 WITHDRAWN



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632   WITHDRAWN                 WITHDRAWN

633   DEF_00027396-             Screenshot of Wallet                   H; UP; CML
      DEF_00027399
634   DEF_00031142-             Hotwire PE WKID Cost Estimation        H; R; SPEC;
      DEF_00031151                                                     ILO; CML
635   DEF_00056469-             Demorgan Investor Pack                 H; R
      DEF_00056559
636   DEF_00065750-             Email from S. Matthews to C. Wright    H; SPEC
      DEF_00065752              re Hey, dated November 25, 2015
637   DEF_00067254-             Preliminary GAAR Panel Submission, H; R; A; UP;
      DEF_00067390              dated August 29, 2014              CHAR
638   DEF_00717983-             IP License between Cloudcroft and      H; R; A
      DEF_00717994              GISCR, dated August 22, 2013
639   WITHDRAWN                 WITHDRAWN

640   DEF_00796229-             Email from C. Wright to D. Kobza re    H; R
      DEF_00796232              Resignation
641   DEF_01097000-             Email from C. Wright to R. Watts re    H; R; A
      DEF_01097015              Hotwire, dated June 24, 2015
642   WITHDRAWN                 WITHDRAWN
643   DEF_01108601-             Email from C. Wright to C. Ayre re     H; R; UP;
      DEF_01108601              Current Development, dated August 3,   R404
                                2015
644   DEF_01110002-             Email from D. McMaster to C. Wright    H; R; A; P;
      DEF_01110028              re Venue dated December 23 2013        UP
645   WITHDRAWN                 WITHDRAWN



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646   WITHDRAWN                 WITHDRAWN

647   DEF_01590998-             Bitmessage Screenshot              A; R; CHAR;
      DEF_01591145                                                 CML; UP; H
648   WITHDRAWN                 WITHDRAWN
649   WITHDRAWN                 WITHDRAWN

650   WITHDRAWN                 WITHDRAWN

651   WITHDRAWN                 WITHDRAWN

652   WITHDRAWN                 WITHDRAWN

653   DEF_01630526-             Email from C. Wright to A. Ellis   R; H; CHAR
      DEF_01630528
654   WITHDRAWN                 WITHDRAWN

655   WITHDRAWN                 WITHDRAWN

656   DEF_01854257-             W&K Operating Agreement            H; A; CML
      DEF_01854270
657   DEF_01854271-             W&K Operating Agreement            H; A; CML
      DEF_01854287
658   DEF_01854288-             W&K Operating Agreement            H; A; CML
      DEF_01854301
659   DEF_01854302-             W&K Operating Agreement            H; A; CML
      DEF_01854318



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660   DEF_01891039-             Email from C. Wright to A. Sommer re H; P; R
      DEF_01891041              BTC, dated December 30, 2014
661   WITHDRAWN                 WITHDRAWN




662   WITHDRAWN                 WITHDRAWN

663   DEF_01896020-             Email from J. Chesher re what           H; R; P; UP
      DEF_01896051              occurred dated February 26, 2014
664   DEF_01913789-             Email from C. Wright to J. Chesher re P; H
      DEF_01913789              External Companies dated February
                                28, 2014
665   WITHDRAWN                 WITHDRAWN

666   DEFAUS_01810748-          Screeenshot                             H; A; CML;
      DEFAUS_01810853                                                   CHAR; UP; P
667   DEFAUS_01863888-          Email from C. Wright to A. Sommer re H; R; P
      DEFAUS_01863892           BTC
668   KLEIMAN_00001693-         Email from C. Wright to I. Kleiman re   H; A; SPEC;
      KLEIMAN_00001712          Questions, dated April 23, 2014         CML; R408
669   KLEIMAN_00004284-         Email from C. Wright to I. Kleiman re   H; R; UP;
      KLEIMAN_00004284          Dave, dated June 21, 2016               CHAR
670   WITHDRAWN                 WITHDRAWN

671   DEFHC_00000045-           Bitmessages from Dave, dated January H; A; CML
      DEFHC_00000045            15, 2013
672   WITHDRAWN                 WITHDRAWN


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673   DEF_00008751-             W&K Info Defense Research LLC          H; A
      DEF_00008751              Invoice to Strasan Pty Limited
674   DEF_00013028-             Email from L. Wright to C. Wright re H
      DEF_00013029              R&D proposal, dated March 24, 2014.
675   DEF_00013369-             Affidavit of Lynn Wright (Wright v.    H; A
      DEF_00013371              W&K Info Defense Research LLC,
                                NSW Supreme Court)
676   DEF_00015989-             Email from C. Wright to S. Moulton,    H; R
      DEF_00015990              C. Ball and cc: various re:
                                Keynote.doc, dated September 28,
                                2009
677   WITHDRAWN                 WITHDRAWN
678   DEF_00025400-             Email from C. Wright to Ramona A re:
      DEF_00025400              Dave, dated April 21, 2011.
679   DEF_00025402-             Email from C. Wright to Ramona A re: R; CHAR;
      DEF_00025403              Bravery, dated April 22, 2011.       UP
680   WITHDRAWN                 WITHDRAWN

681   DEF_00029612-             Email from A. Pedersen to C. Wright    H; ILO;
      DEF_00029651              and R. Watts re: Valuation attaching   SPEC; CML;
                                DeMorgan 1.pdf, dated November 16,     A
                                2014.
682   DEF_00031484-             Email from C. Wright to L. Mees, cc:   H; R; UP;
      DEF_00031488              C. Pilgrim, J. Aitken, R. Watts re:    CHAR
                                Further C01N tax return queries with
                                attachments, dated June 17, 2014.
683   DEF_00034411-             Email from C. Wright to D. Kleiman,
      DEF_00034411              P. Henry, B. Long, C. Conrad, cc: R.
                                Lee re: Forensic Common Body of
                                Knowledge, dated November 16, 2008.



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684   DEF_00034932-             Email from C. Wright re: Hotwire PR H; R; CML
      DEF_00035186              with attachments, dated May 17, 2014.
685   DEF_00038394-             Patents Progress & Prioritization      H; A; R
      DEF_00038396              document, last updated January 13,
                                2015.
686   WITHDRAWN                 WITHDRAWN

687   DEF_00046501-             Email from C. Wright to A. Pedersen, H; R
      DEF_00046501              cc: R. Watts re: Before you are going
                                on leave -> Please, call, dated January
                                17, 2014.
688   DEF_00046524-             Email from C. Wright to J. Turanec,     H; R
      DEF_00046530              cc: S. Savanah re: HOTWIRE
                                PREEMPTIVE INTELLIGENCE
                                PTY. LTD.- Commercialisation
                                Australia Stage 1 application - Panel
                                invite [DLM=For-Official-Use-Only],
                                dated January 23, 2014.
689   WITHDRAWN                 WITHDRAWN

690   DEF_00052104-             Email from S. Matthews to R. Watts    H; R; A
      DEF_00052105              re: Check of corporate records, dated
                                January 12, 2016.
691   DEF_00052152-             Email from C. Wright to S. Matthews, H; R
      DEF_00052153              V. Brooks, A. Edwards, cc: R.
                                MacGregor, bcc: R. Watts re: London,
                                dated March 30, 2016.
692   DEF_00052461-             Email from R. Watts to R. MacGregor, H; R; A
      DEF_00052462              cc: S. Matthews, C. Wright re: Gavin
                                and SN talked in early 2010 not 2009,
                                dated May 3, 2016.



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693   DEF_00054838-             C01N Pty Ltd, Response to ATO             H; R; UP; A;
      DEF_00054883              letters, dated February 5, 2015.          P; CHAR
694   DEF_00055916-             Austrailian Taxation Office- Reasons      H; R; A; UP;
      DEF_00056158              for Decision for Denariuz Pty Ltd for     CHAR
                                the period 1 July 2013 to 30 June 2014,
                                dated March 21, 2016.
695   DEFAUS_00065727-          Email from C. Wright to R. Watts, S.      H; R; SPEC
      DEFAUS_00065729           Matthews re: Hey, dated November 25,
                                2015 (12:21:46 AM).
696   DEF_00069972-             Email from C. Wright to S. Matthews,      H
      DEF_00069974              R. Watts, R. MacGregor re: Hey, dated
                                December 8, 2015.
697   DEF_00075205-             Email from C. Coyne to C. Wright re:      H; R
      DEF_00075205              CACS followup
                                [SEC=UNCLASSIFIED], dated
                                September 22, 2011.
698   DEF_00076955-             Email from C. Wright to R. Manu, cc:      H; R
      DEF_00076955              J. Wilson, R. Watts re: Cold Storage,
                                dated October 16, 2013.
699   DEF_00174928-             Email from R. Watts to D. Watts re:       H; R; A; UP
      DEF_00174929              Phone Bills, dated September 4, 2012.
700   DEF_00275901-             Email from C. Wright to Ramona A re:      R; CHAR;
      DEF_00275902              Over Qualified, dated November 18,        UP
                                2010.
701   DEF_00470648-             Email from C. Wright to R. Watts re:      H; R
      DEF_00470649              ThinkGeek.com Order #4d6e87310,
                                dated November 5, 2013.
702   DEF_00751918-             Craig notes from Xenon Meeting dated      R; H; A;
      DEF_00751919              October 24, 2014.
703   DEF_01096941-             Message details from D. Kleiman,          H; R; A;
      DEF_01096950              dated January 15, 2013.                   CML



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704   DEF_01099562-             Craig Wright Response to Macquarie       H; R; A
      DEF_01099582              Telecom PoD (HWPE), dated October
                                8, 2014.
705   DEF_01618143-             Email from R. Watts to A. Lodhi re:      H; R; A
      DEF_01618145              Hotwire Preemptive Intelligence
                                Advance Finding and Overseas
                                Finding [DLM=Sensitive] ->
                                Supercomputer - Australian Activity -
                                from AusIndustry, dated November 26,
                                2015.
706   DEF_01912866-             CWRD- A response to the ATO              H; R; A; UP
      DEF_01912887              questions (Part 2) for Craig Wright
                                R&D (ABN 72 433 066 448)
707   DEF_01913863-             Attachment - Questions for Dr Craig      H; UP; P; R
      DEF_01913883              Wright
708   DEF_01914240-             Email from C. Wright to J. Chesher, A.   H; P; SPEC;
      DEF_01914240              Sommer, cc: R. Watts re: NSWSC           R
                                transactions, dated April 23, 2014.
709   KLEIMAN_00561024-         Australia Court File - 2013-             R; H; A;
      KLEIMAN_00561061          00245661.pdf                             CML; UP
710   KLEIMAN_00560883-         Australia Court File – 2013-             R; H; A;
      KLEIMAN_00561023          00225983.pdf                             CML: UP
711   DEF_00080999-             Video of ATO Interview of Craig          R; H; UP;
      DEF_00080999              Wright                                   CHAR
712   DEF_01628757-             Email from C. Wright to A. Sommer        H; A; CML;
      DEF_01628766              and R. Watts re Bitcoin Wallet, dated    CHAR
                                Nov. 26, 2014
713   DEFHC_01921441-           Email from C. Wright to A. Sommer        CHAR; R;
      DEFHC_01921442            and R. Watts re Transaction, dated
                                Aug. 31, 2014




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714   WAT00000002               Email from S. Matthews to C. Wright, H; SPEC
                                R. Watts, and C. Ayre re The Cabal,
                                dated June 7, 2016
715   WITHDRAWN                 WITHDRAWN

716   DEFAUS_00119150-          Email from C. Wright to I. Kleiman re   H; A; CML;
      DEFAUS_00119166           Questions, dated April 23, 2014         SPEC
717   PAIGE_00002970-           Email from C. Wright to P. Paige re     H
      PAIGE_00002970            Update, dated March 17, 2014
718                             C. Wright Voicemail to I. Kleiman,      R; CML
      KLEIMAN_00569375          April 22, 2014 2014
719   https://medium.com/@c     Craig Wright blog post: “On           SPEC;
      raig_10243/on-            Scammers” June 13, 2019               CHAR; F;
      scammers-f5fca5801bb2                                           UP; R
720   KLEIMAN_00004797-         Email from C. Wright to I. Kleiman re H; A
      KLEIMAN_00004801          “Bond Villains,” dated March 2, 2014
721                             Dave Kleiman AT&T Cell Phone          NP; FRPC
      N/A                       Records                               37(c)(1); A; R
722                             Email from C. Wright to A. Sommer P; R
      DEFAUS_01868521-          and R. Watts re “BTC in trust into
      DEFAUS_01868522           escrow,” dated June 12, 2015
723                             C. Ayre email to C. Wright * JLP re   H; R
                                “Good…help us with the escrow
      DEFAUS_00651732-          account info so we can get this
      DEFAUS_00651732           moving,” dated June 18, 2015
724   DEFAUS_01758182-          Denariuz Activity Statement Audit,    H; R; CHAR;
      DEFAUS_01758191           Oct. 29, 2014                         UP
725   DEF_01108931-             Email from C. Wright to R. Watts re   H; UP; SPEC
      DEF_01108939              Report to Ira, dated July 1, 2015
726   DEF_00022522-             Email from I. Kleiman to R. Watts re H; UP
      DEF_00022523              Coin-Exch reports, dated July 3, 2015


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727                             Email from C. Wright to A. Sommer        H; A; R
      DEFAUS_00628286-          and I. Kleiman re Letter, dated May 1,
      DEFAUS_00628294           2014
728   DEF_01895903-             Email from R. Watts to S. Matthews re    H; A; P
      DEF_01895906              COIN-Exch, dated April 21, 2016
729   KLEIMAN_00278303-         Email from C. Wright to I. Kleiman re    H; R
      KLEIMAN_00278356          Tomorrow, dated April 25, 2014
730                             Email from C. Wright to S. Matthews,     R; SPEC
      DEFAUS_00659866-          C. Ayre and R. MacGregor re Good
      DEFAUS_00659866           day, dated Sep. 5, 2015
731   KLEIMAN_00005025-         Email from I. Kleiman to C. Wright re    H; CML;
      KLEIMAN_00005068          Questions, dated April 23, 2014          SPEC; UP
732                             Email from I. Kleiman to A. Sommer       H
      KLEIMAN_00000524-         re W&K Questions, dated April 26,
      KLEIMAN_00000524          2014
733   DEFAUS_00119574-          Email from C. Wright to I. Kleiman re    H; CML
      DEFAUS_00119575           Memory Recall, dated May 20, 2014
734   DEFAUS_00558276-          Email from U. Nguyen to C. Wright re     H
      DEFAUS_00558280           More, dated Nov. 10, 2015
735   DEF_00281068-             Kursten Karr message to Craig Wright     R; H
      DEF_00281068              on Youtube May 7, 2013
736   DEF_00026676-             Kursten Karr message via Youtube to      R; H
      DEF_00026676              C. Wright, May 7, 2013
737   DEF_00026610-             Email from C. Wright to K. Karr, dated   R
      DEF_00026610              May 7, 2013
738
      WITHDRAWN                 WITHDRAWN
739   DEF_00054838-             C01N Pty Ltd, Response to ATO            R; H; CHAR;
      DEF_00054883              letters, dated February 5, 2015.         UP; A


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740                             Email from U. Nguyen to C. Wright re      H; R
      DEF_00030488-             Filing – error on reinstatement, dated
      DEF_00030488              Mar. 29, 2014
741   DEF_00030491-             C. Wright email to Florida Division of    H; R
      DEF_00030492              Corporations, dated Mar. 28, 2014
742   DEF_01099811-             ATO Reasons for Decision-Craig            H; CHAR; R;
      DEF_01099833              Wright R&D                                UP
743   DEF_00022525-             Email from R. Watts to I. Kleiman re      H; SPEC; UP
      DEF_00022528              more questions dated June 25, 2015
744   DEFAUS_00112889-          Email from C. Wright to I. Kleiman re     A
      DEFAUS_00112890           R&D, dated Feb. 16, 2014
745   DEFAUS_00627881-          Email from C. Wright to I. Kleiman re     H; CML;
      DEFAUS_00627904           Questions, dated April 23, 2014           SPEC; UP
746   KLEIMAN_00399491-         Email from C. Wright to I. Kleiman re     H; CML;
      KLEIMAN_00399506          Questions, dated April 23, 2014           SPEC; UP
747   WITHDRAWN                 WITHDRAWN
748   [DE 12-2]                 Affidavit of C. Wright - April 16, 2018   R
749                             Email from D. Kleiman to I. Kleiman       R; H; MIL
      CONTROL00154469           re Bus Card, dated Nov. 21, 2003
750   KLEIMAN_00034810-         Email from D. Kleiman to Ira Kleiman      R; H; MIL
      KLEIMAN_00034814          re thoughts, dated May 31, 2012
751   KLEIMAN_00004868-         Email from C. Wright to I. Kleiman re     H; CML;
      KLEIMAN_00004890          Questions, dated April 23, 2014           SPEC; UP
752   WITHDRAWN                 WITHDRAWN
753                             Email from C. Wright email to G.          H; R
      GAVIN_00000259-           Andresen re Some reading for the
      GAVIN_00000263            plane, dated April 6, 2016
754   WITHDRAWN                 WITHDRAWN



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755                              [heise online UK] Secure deletion: a    H; R; A
                                 single overwrite will do it
      https://protect-
                                 Dave Kleiman dave at
      us.mimecast.com/s/hR0
      5C1wB6yILKPlLINf0X         davekleiman.com
      1                          Tue Jan 20 19:18:39 EST 2009
756                              Email from I. Kleiman to C. Wright re   H; R; A;
                                 FW Design By, dated February 28,        CHAR
      KLEIMAN_00194007-
      KLEIMAN_00194009           2014
757                              Email from C. Wright to R. Watts and    H; A; CML
      DEF_00013675-              S. Matthews re Letter, dated July 14,
      DEF_00013718               2015
758                              Email from A. Miller to I. Kleiman re   H
      KLEIMAN_00004923-          Request for Information, dated April
      KLEIMAN_00004928           29, 2014
759                              Email from S. Matthews to C. Wright     H; R
      DEF_01613736-              and R. Watts re Communication, dated
      DEF_01613737               August 28, 2015
760                              Email from C. Wright to I. Kleiman re   H; CHAR
      KLEIMAN_00177456-          AGMO COE in IPv6.pptx, dated
      KLEIMAN_00177456           February 18, 2014
761   WITHDRAWN                  WITHDRAWN
762   WITHDRAWN                  WITHDRAWN
763   https://www.diffchecker                                         A; H; CHAR
      .com/uAgBd9BT              Craig Blog Post dated April 30, 2013
764   GAVIN_00000241-            Email from C. Wright to G. Andresen, R
      GAVIN_00000241             re Good Morning dated May 24, 2016
765   WITHDRAWN                  WITHDRAWN
766   KLEIMAN_00199365-                                               A; R; H
      KLEIMAN_00199365           Tweet by Don Lynam



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767   KIMON_00000254-                    Email from K. Andreou to I. Kleiman H; SPEC; UP;
      KIMON_00000256                     dated May 17, 2016                      CHAR
768   DEFAUS_00115572-                   Email from C. Wright to I. Kleiman re H
      DEFAUS_00115573                    Another, dated March 7, 2016
769   DEFAUS_00628830-                   Letter from Joe Karp to A. Sommer,      H; COM
      DEFAUS_00628831                    Dated May 14, 2014
770                                      Email from C. Wright to L. Wright re R; UP;
      DEF_00845667-DEF_00845668          Story, dated Nov. 23, 2010              CHAR
771   https://www.cryptsoft.com/fips14   Sept. 26, 2002 - Securit-e-Doc SITT® A; H; R
      0/vendors/140sp276.pdf             Cryptosystem
772   WITHDRAWN                          WITHDRAWN
773   DEF_00023291-DEF_00023293          Email from C. Wright to R. Macgregor H; R
                                         re Trustee Letter, dated April 17, 2016
                                         (
774   DEF_00023315-DEF_00023317          Email from C. Wright to R. Watts an S. H; UP; ILO
                                         Matthews re FW: evidence, dated
                                         August 17, 2015
775   DEF_00023346-DEF_00023347          Email from R. Watts to A. OHagan re H; A; SPEC
                                         Dinner later this week, dated Mar. 28,
                                         2016
776   DEFAUS_00662727-                   Email from S. Matthews to R. Watts re H; A; R;
      DEFAUS_00662795                    RFI #18, dated Sep. 29, 2015            CHAR; CML
777   DEF_01108970- DEF_0119010          Email from C. Wright to R. Watts and H
                                         S. Matthews, re FW: coin-ex, dated
                                         June 28, 2015
778   DEF_01110548-DEF_01110549          Email from R. Watts to C. Wright re     H; R; UP
                                         Does this need to be sent to Tasneem?,
                                         dated Dec. 3, 2015



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779   DEF_01586110-DEF_01586115 Meeting Minutes dated Dec. 18, 2015     H; R;
                                (Chaos)
780   DEF_01586116-DEF_01586122 Meeting Minutes dated Dec. 18, 2015     H; A; R;
                                (Cloudcroft)
781   DEF_01586123-DEF_01586129 Meeting Minutes dated Dec. 18, 2015     H; A; R;
                                (CO1N)
782   DEF_01586131-DEF_01586137 Meeting Minutes dated Dec. 18, 2015     H; R;
                                (Daso)
783   DEF_01586138-DEF_01586144 Meeting Minutes dated Dec. 18, 2015     H; A; R;
                                (Demorgan Holdings)
784   DEF_01586145-DEF_01586148 Meeting Minutes dated Dec. 18, 2015     H; A; R
                                (Demorgan Limited)
785   DEF_01586149-DEF_01586155 Meeting Minutes dated Dec. 18, 2015     H; A; R;
                                (Denariuz)
786   DEF_01586156-DEF_01586162 Meeting Minutes dated Dec. 18, 2015     H; A; R;
                                (Integyrz)
787   DEF_01586163-DEF_01586169 Meeting Minutes dated Dec. 18, 2015     H; A; R;
                                (Interconnected)
788   DEF_01586170-DEF_01586176 Meeting Minutes dated Dec. 18, 2015     H; R;
                                (Misfit)
789   DEF_01586177-DEF_01586182 Meeting Minutes dated Dec. 18, 2015     H; R;
                                (Panopticrypt)
790   DEF_01586183-DEF_01586189 Meeting Minutes dated Dec. 18, 2015     H; A; R;
                                (Pholus)
791   DEF_01586190-DEF_01586196 Meeting Minutes dated Dec. 18, 2015     H; A; R;
                                (Zuhl)
792   DEF_01895808-DEF_01895810 Email from C. Ayre to S. Matthews, R.   H; R; UP; P
                                Watts, R. Macgregor, C. Wright re



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                                             Settlement discussion, dated February
                                             2, 2016
793       DEF_00175279-DEF_00175279 Email from C. Wright to R. Macgregor H; R
                                             re Project Wintermute, dated July 14,
                                             2015
794       DEF_00477813-DEF_00477813 Email from R. Watts to A. Damoka,              H; R; A
                                             dated Feb. 10, 2014
795       DEF_01901513                       Reasons for Decision (CO1N)           H; R; A; P
          DEF_00057103-DEF_00057157
796       https://www.ontier.net/ia/a2a1bitc SCA Ontier Press Release “ONTIER H; A; R; UP
          oin-developers-press-release-12- Serves Claim against Bitcoin
          may-2021.pdf                       developers to recover £4billion worth
                                             of Bitcoin”




                                             Respectfully submitted,
Dated: August 31, 2021
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                                                Counsel to Plaintiffs Ira Kleiman as
                                                Personal Representative of the Estate of
                                                David Kleiman and W&K Info Defense
                                                Research, LLC.


                                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on August 31, 2021 a true and correct copy of the foregoing was filed with CM/ECF, which caused

a copy to be served on all counsel of record.


                                                    /s/ Velvel (Devin) Freedman
                                                    Velvel (Devin) Freedman




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